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                              EXHIBIT 2
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 1700 G Street NW, Washington, D.C. 20552

 February 10, 2023

 Served via email at Sarah.Reise@troutman.com

 Sarah Reise
 Troutman Pepper Hamilton Sanders LLP
 600 Peachtree Street NE, Suite 3000
 Atlanta, GA 30308-2216


 Re: Civil Investigative Demand served on Purpose Financial, Inc. on February 10, 2023

 To whom it may concern:

 Attached is a Civil Investigative Demand (CID) issued to you by the Consumer Financial
 Protection Bureau (Bureau) under 12 C.F.R. § 1080.6 and § 1052(c) of the Dodd-Frank Wall
 Street Reform and Consumer Protection Act, 12 U.S.C. § 5562. The Bureau is currently seeking
 information for a non-public investigation, the purpose of which is explained on the attached
 CID cover sheet. Please note:

    1. Contact Bureau counsel, Gregory Nodler 202-435-7619,
       Gregory.nodler@cfpb.gov as soon as possible to schedule an initial meeting
       that is required to be held within 10 calendar days of receipt of this CID.
       During this meeting, you must discuss and attempt to resolve all issues regarding the
       CID, including timely compliance. The rules require that you make available at this
       meeting personnel with the knowledge necessary to resolve issues; such individuals may
       include, for example, information-technology professionals. Please be prepared to
       discuss your planned compliance schedule, including any proposed changes that might
       reduce your cost or burden while still giving the Bureau the information it needs.

    2. This CID relates to a non-public, law-enforcement investigation being
       conducted by the Bureau. We ask that you not disclose the existence of this CID,
       except to legal counsel or as otherwise required by law, until you have been notified that
       the investigation has been completed. Premature disclosure of this investigation could
       interfere with the Bureau’s law-enforcement activities.

    3. You must retain, and suspend any procedures that may result in the
       destruction of, documents, information, or tangible things that are in any
       way relevant to the investigation as described in the CID’s Notification of




 consumerfinance.gov
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        Purpose. You are required to prevent the destruction of relevant material irrespective
        of whether you believe such material is protected from future disclosure or discovery by
        privilege or otherwise. See 18 U.S.C. §§ 1505, 1519.

 Please contact Bureau counsel as soon as possible to set up an initial meeting, which must be
 held within 10 calendar days of receipt of this CID. We appreciate your cooperation.

 Sincerely,



 Gregory Nodler
 Enforcement Attorney


 Attachment




 consumerfinance.gov                                                                               2
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                    CIVIL INVESTIGATIVE DEMAND FOR
                     ANSWERS TO INTERROGATORIES,
             PRODUCTION OF DOCUMENTS AND WRITTEN REPORTS

 I.    Requests
                                     Interrogatories


 1.    Describe how the Company creates and assigns a Borrower ID to a consumer and
       all circumstances, if any, under which a consumer might be assigned more than
       one Borrower ID.

 2.    For each loan type offered in each state, describe all circumstances, if any, under
       which a change to the terms of a loan (e.g., conversion of a single-payment loan
       to an installment loan or payment plan; extension of a loan; reborrowing,
       refinancing, rolling over, cash again, etc.) could result in the creation of a new
       Loan ID.

 3.    For each marketing effort that involved contacting an existing or former loan
       customer for the purpose of advising the consumer of available loan products or
       additional loan funds that the consumer might be eligible to receive from the
       Company, describe: (a) the marketing effort; and (b) the criteria employed by the
       Company to develop the list of consumers to whom the communications were
       sent.

 4.    For each loan type that You offered or serviced during the Applicable Period,
       state the following:
       (a)     all information that an applicant was required to provide when applying
               for a loan;
       (b)     all information that an applicant was required to provide when requesting
               to alter the original quoted terms of a loan, including but not limited to
               entering an extended payment plan, converting a single payment loan to
               an installment loan, refinancing an existing loan, or changing the loan
               amount or cost of the loan; and
       (c)     for each type of information listed in response to part (a) and (b) of this
               Interrogatory, state whether the information collected from the applicant
               is provided to the loan underwriter for use in the underwriting process.
       If any of the answers to this interrogatory have changed during the Applicable
       Period or vary in any respect, including but not limited to variances based on the
       loan product, locality, or whether the consumer is a New Customer, Current
       Customer, or Inactive Customer, include the changes and variances in your
       answer.




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 5.     Describe all employee or Center-based incentive or bonus programs in effect at
        any time during the Applicable Period.


 6.     Identify the state or local laws, rules, or regulations that Scot Goodman referred
        to as not permitting the Company to hold payments beyond a customer’s due
        date. See Investigational Hearing of Scot Goodman on behalf of the Company
        (Goodman IH) at 139:21-22, 180:13-15.


 7.     Identify the state or local laws, rules, or regulations that Scot Goodman referred
        to as requiring the Company to refinance loans. See Goodman IH at 119:10-14.


 8.     Describe all customer incentive programs in effect at any time during the
        Applicable period, e.g., lower interest rate or higher loan amount after on-time
        payments or gift cards for customer referrals.


 9.     Describe how You estimate default or write-off rates for individual or pooled
        loans, including but not limited to identifying any factors or characteristics about
        individual consumers, their payment history, or their loans that you consider in
        estimating default or write-off rates.


                                   Requests for Documents

 1.     The Personnel File for each employee identified in Your answer to Written Report
        8(o) (former employees who worked at one or more of the Centers identified in
        Your answer to Written Report 6).

 2.     The Personnel File for each of the following current or former employees: 1
        (a)     Paul Cho
        (b)     Mickey Durkin
        (c)     Travis Gonzalez
        (d)     Scot Goodman
        (e)     Jim McHugh
        (f)     Steve Ritter
        (g)     Steven Weese
        (h)     Jim McQueen


 1 To the extent any of these names are shared by more than one current or former employee, the Company
 is directed to produce the Personnel File for each of the employees with the identified name.



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       (i)   Stacy Johnson
       (j)   Jessica Rustin
       (k)   James Ovendon
       (l)   Leigh Santanello

 3.    All Documents reflecting the creation and setting of performance goals for
       regions, districts, and Centers.


 4.    All Documents reflecting communication of performance goals to department
       heads, regional managers, district managers, Center managers, and Center
       employees.


 5.    All Documents reflecting growth reviews, performance reports, monitoring
       reports, or audits regarding financial performance of one or more of the
       Company’s Centers, regardless of whether conducted by the Company or another
       entity.


 6.    All Documents reflecting any evaluation or discussion regarding the results of a
       growth review, performance report, monitoring report, or audit related to
       financial performance, including but not limited to documents regarding
       decisions made or actions taken or considered because of information within a
       review, report, or audit related to financial performance.


 7.    All Documents reflecting results of evaluations, summaries, or reports of Center
       visits conducted by an owner or board member of the Company, the Company’s
       chief executive officer, the Company’s chief compliance officer, a representative
       of the Company’s compliance department, a representative of the Company’s
       operations department, a district manager, or a regional manager.


 8.    All Documents reflecting any evaluation or discussion regarding the results of a
       Center evaluation, summary, or report, including but not limited to a Center
       Business Review (CBR) and any Documents regarding decisions made or actions
       taken or considered because of information in the evaluation, summary, or
       report.




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 9.    All Documents reflecting:
       (a)    any audit related to loan origination;
       (b)    any audit related to servicing;
       (c)    any audit related to collection practices and operations; and
       (d)    any evaluation or discussion regarding loan origination, servicing, or
              collection practices or operations, including but not limited to any
              Documents reflecting decisions or actions taken or considered because of
              information contained in an audit or review of loan origination, servicing,
              or collection practices or operations.

 10.   All Documents reflecting agendas, recorded minutes, handwritten notes, and
       other Documents circulated before, during, or after meetings involving at least
       one of the Company’s owners or Board Members (or a representative thereof),
       the Company’s chief executive officer, or the Company’s chief compliance officer
       regarding financial performance or compliance.

 11.   Documents sufficient to show all template versions of text and email
       communications used by the Company to notify borrowers of upcoming
       payments due on a loan issued or serviced by the Company.

 12.   All Documents reflecting the Company’s underwriting criteria and process,
       including but not limited to, any use of credit scoring or other automated models
       (e.g., LexisNexis RiskView).

 13.   The complete loan files for all loans originated at the Centers identified in Your
       answer to Written Report 6, including but not limited to payment receipts,
       payment histories, call histories, and account notes. Your response should be
       organized by Borrower ID and Loan ID.

 14.   Documents reflecting the terms of, eligibility for, results of, or discussions
       regarding the creation of each incentive or bonus program offered by the
       Company to collections employees, Center-level employees, district managers,
       and regional managers.

 15.   All Documents reflecting the content of any communication involving at least one
       of the Company’s owners or Board Members (or a representative thereof), the
       Company’s chief executive officer, the Company’s chief compliance officer, a
       regional manager, or a district manager that relate to underwriting, origination,
       servicing, renewal, refinancing, or collections.

 16.   All Documents reflecting:




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       (a)    communications distributing regular (e.g., weekly, monthly, quarterly,
              etc.) reporting of Center-specific, region-specific, or district-specific
              performance metrics, including all attachments to such communications;
              and
       (b)    to the extent that they have not otherwise been produced, all regular (e.g.,
              weekly, monthly, quarterly, etc.) reporting of Center-specific, region-
              specific, or district-specific performance metrics.

 17.   All Documents reflecting the content of a discussion between a consumer and the
       Company’s customer service representatives (including Center-level employees)
       regarding any loan originated at Centers identified in Your answer to Written
       Report 6.

 18.   All documents related to the development, implementation, inputs, use, and
       analysis of any credit-scoring and underwriting models.

 19.   One copy of all Company policies, procedures, and training materials relating to
       recording telephone calls and storing telephone call recordings.


 20.   All recordings of telephone calls between the Company and its customers, and all
       notes from such calls.


 21.   All Documents reflecting employee grievances or complaints submitted through a
       centralized grievance hotline, email, message board, or other electronic means.


 22.   All Documents reflecting posts by Company employees on the Achievers
       platform.


 23.   A dictionary file that identifies the following for each Center:
       (a)    Center ID;
       (b)    name;
       (c)    address; and
       (d)    loan types offered at the Center.



                             Requests for Written Reports

 Produce the following data in tab-delimited text files, using double-quote-escaped text
 fields when necessary. Where data derives from separate tables or dimensions, use a



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  separate text file for data elements along each separate dimension. This should comply
  with at least the first normal form (1NF). Include both unique identifiers, primary keys,
  and foreign keys (i.e., all fields used to perform joins between tables) in each file
  expressing the relationship between these files. When data is available for some records
  and not others, leave the unavailable data items blank (omissions due to unavailability
  should be identified and discussed during the meet and confer process and described in
  narrative with the production). Individual records should never be of varying lengths.
  Where information exists at the record level requested but is not included in the
  individual Written Report Request, you are expected to include this information in
  additional columns in your response to the written report. Produce the source code for
  all scripts used to query data responsive to each Request for Written Report. If the data
  is converted from its native format to comply with the format requirements, please
  provide the file from which it was derived.

  1.    For every loan You have originated since July 1, 2017, identify:
        (a)    Loan ID;
        (b)    Borrower ID;
        (c)    borrower’s name;
        (d)    street address of borrower’s residence;
        (e)    city of borrower’s residence;
        (f)    state of borrower’s residence;
        (g)    zip code of borrower’s residence;
        (h)    borrower’s phone number; and
        (i)    Employee ID for the employee who originated the loan.

  2.    For every loan You have originated since July 1, 2017, identify:
        (a)    Loan ID;
        (b)    Borrower ID;
        (c)    Center ID for Center in which loan was originated;
        (d)    zip code in which loan was originated;
        (e)    loan origination date;
        (f)    loan type;
        (g)    loan principal, as identified on the truth-in-lending disclosure;
        (h)    loan APR, as identified on the truth-in-lending disclosure;
        (i)    total of finance charge, as identified on the truth-in lending disclosure;
        (j)    interest included in the finance charge;
        (k)    any other charge or fee included in the finance charge;




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       (l)    any other amounts payable;
       (m)    total amount financed, as identified on truth-in-lending disclosure;
       (n)    total of payments amount, as identified on the truth-in-lending disclosure;
       (o)    amount provided to borrower directly;
       (p)    amount paid on borrower’s account (net balance minus prior account);
       (q)    contractual term of the loan;
       (r)    original date on which the loan was scheduled to be paid off;
       (s)    the number of times the loan was extended;
       (t)    the total length of time the loan was extended;
       (u)    date on which the loan was scheduled to be paid off after its final
              extension;
       (v)    date on which the loan was paid off;
       (w)    date on which the loan was charged off;
       (x)    at date of payoff or charge-off, the total amount of principal paid;
       (y)    at date of payoff or charge-off, the total amount of interest paid;
       (z)    at date of payoff or charge-off, the total amount of fees paid;
       (aa)   whether the loan was paid off through refinancing; and
       (bb)   Employee ID for the employee who originated the loan.

  3.   For every loan payment You have received since July 1, 2017, identify:
       (a)    Loan ID;
       (b)    Borrower ID;
       (c)    refinance Loan ID(s), if different from Loan ID used at origination;
       (d)    extended payment plan ID, if different from Loan ID used at origination;
       (e)    payment due date;
       (f)    date of payment;
       (g)    amount of payment;
       (h)    partial payment (yes/no);
       (i)    amount of payment allocated to payment of fees;
       (j)    amount of payment allocated to repayment of interest;
       (k)    amount of payment allocated to repayment of principal;
       (l)    fee balance of the loan after the payment was made on the account;
       (m)    interest balance of the loan after the payment was made on the account;




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       (n)    principal balance of the loan after the payment was made on the account;
              and
       (o)    Employee ID for the employee who originated the loan.


  4.   For every loan You have originated since July 1, 2017, identify the following fields
       related to note- and memo-level data (e.g., collection notes):
       (a)    Loan ID;
       (b)    Borrower ID;
       (c)    unique identifier for the note or memo;
       (d)    date of the note or memo;
       (e)    the full text of the note or memo, including a data dictionary for any
              shorthand notations reflected in the note or memo;
       (f)    Employee ID for the Company employee who made the note or memo;


  5.   For each Center operated by the Company during the Applicable Period, provide
       the following information:
       (a)    Center ID;
       (b)    name;
       (c)    street address;
       (d)    city;
       (e)    state;
       (f)    zip code;
       (g)    date that the Center was first opened for business;
       (h)    date the Center ceased operation (if applicable);
       (i)    the gross profit for the Center by year for each year of the Applicable
              Period;
       (j)    annual number of loans to New Customers;
       (k)    annual number of loans to Current Customers;
       (l)    annual number of loans to Inactive Customers;
       (m)    average number of loans to New Customers;
       (n)    average number of loans to Current Customers;
       (o)    average number of loans to Inactive Customers;
       (p)    the type of loans offered at the Center; and
       (q)    whether the Center is identified in Your response to Written Report 6
              (yes/no).


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  6.   For each year during the Applicable Period, provide the names and Center IDs
       for the top two and bottom two performing Centers in each state based on each of
       the following criteria:
       (a)   overall revenue;
       (b)   revenue generated in connection with each loan type offered by the
             Company;
       (c)   overall default rate (low default rate should indicate high Center
             performance);
       (d)   overall default rate for each loan type offered by the Company in that state
             (low default rate should indicate high Center performance);
       (e)   number of transactions;
       (f)   number of loans;
       (g)   number of loans to New Customers;
       (h)   number of loans to Current Customers;
       (i)   number of loans to Inactive Customers; and
       (j)   number of Center employees who earned budget or performance-based
             bonuses as described in Your response to Interrogatory No. 5 (high
             number of employees receiving bonuses should indicate high Center
             performance).


  7.   For each Center identified in Your response to Written Report 6, provide the
       following information:
       (a)   Center ID;
       (b)   name of Center;
       (c)   the name of the current Center manager or, if no longer operating, the
             name of the Center manager at time of closing;
       (d)   the name of the current regional manager of the Center or, if no longer
             operating, the name of the regional manager at time of closing; and
       (e)   the name of the current district manager of the Center or, if no longer
             operating, the name of the district manager at time of closing.


  8.   For every former employee of the Company who was terminated or resigned
       during the Applicable Period, provide the following:
       (a)   Employee ID;
       (b)   employee name;
       (c)   position held as of date of termination or resignation;



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        (d)    whether the former employee was terminated or resigned;
        (e)    reason for termination or resignation, including (where applicable)
               specifying when a resignation was in lieu of termination, suspension, or
               other disciplinary action;
        (f)    date employment began;
        (g)    date employment ended:
        (h)    if Center-level employee, address and ID of each Center where the
               employee worked;
        (i)    if a district or regional manager, the name of each district and region
               where the employee worked;
        (j)    the dates and reasons for every suspension or other disciplinary action
               taken with respect to the employee;
        (k)    last known telephone numbers;
        (l)    last known email addresses;
        (m)    last known home address;
        (n)    the number of times the employee received one or more incentives or
               bonuses (as described in Your response to Interrogatory No. 5); and
        (o)    whether the employee ever worked at one or more of the Centers identified
               in Your response to Written Report 6 (yes/no).


  II.   Definitions
  A.    “Borrower ID” means a unique identifier used in Your internal recordkeeping
        to identify individual consumers (or, if unavailable, a unique identifier generated
        for purpose of responding to this CID).

  B.    “CFPB” or “Bureau” means the Consumer Financial Protection Bureau.

  C.    “CID” means the Civil Investigative Demand, including the Interrogatories,
        Requests, Definitions, and Instructions.

  D.    “Center” means a physical storefront in which You do in-person business
        directly with consumers, or the place from which You originate online loans.

  E.    “Center ID” means a unique identifier used in Your internal recordkeeping to
        identify individual Centers (or, if unavailable, a unique identifier generated for
        purpose of responding to this CID).

  F.    “Company” or “You” or “Your” means Purpose Financial, Inc.; Advance
        America; National Cash Advance; First American Cash Advance; First American
        Loans; Cash Advance; Purpose Money; Purpose Financial; Express Check




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       Advance; First American Title Loans; Anytime Wallet’ Kickstand Lending; and
       any successor in interest.

  G.   “Current Customer” is a term used by the Company to mean a consumer
       actively making payments to the Company on a non-defaulted loan or a consumer
       who paid off a loan to the Company within the previous 60 days. See Goodman
       IH at 128:1-129:20. Depending on the point-of-sale or recordkeeping system used
       at the time, the time period used to define the consumer may vary slightly. See
       Goodman IH at 130:1-11.

  H.   “Deputy Enforcement Director” refers to a Deputy Assistant Director of the
       Office of Enforcement.

  I.   “Document” means any written matter of every type and description, including
       electronically stored information. “Document” includes any non-identical copy
       (such as a draft or annotated copy) of another document.

  J.   “Electronically Stored Information,” or “ESI,” means the complete original
       and any non-identical copy (whether different from the original because of
       notations, different metadata, or otherwise) of any electronically created or
       stored information, including but not limited to e-mail, instant messaging,
       videoconferencing, SMS, MMS, or other text messaging, and other electronic
       correspondence (whether active, archived, unsent, or in a sent or deleted-items
       folder), word-processing files, spreadsheets, databases, unorganized data,
       document metadata, presentation files, and sound recordings, regardless of how
       or where the information is stored, including if it is on a mobile device.

  K.   “Employee ID” means a unique identifier used in Your internal recordkeeping
       to identify individual employees (or, if unavailable, a unique identifier generated
       for purpose of responding to this CID).

  L.   “Enforcement Director” refers to the Assistant Director of the Office of
       Enforcement.

  M.   “Identify” means to provide:

          (a) for natural persons, their name, title or position, present business
              affiliation, present business address, e-mail address, and telephone
              number, or if a present business affiliation or present business address is
              not known, the last known business address, home address, e-mail
              address, and telephone number;

          (b) for businesses or other organizations, the name, address, identities of
              officers, directors, or managers of the business or organization, and
              contact persons with e-mail addresses and telephone numbers, where
              applicable; and




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           (c) for documents, the title, date, authors, recipients, Bates numbers, if
               applicable, type of document or some other means of identifying the
               document, and the present or last known location or custodian.

  N.     “Inactive Customer” is a term used by the Company to mean a consumer that
         had a loan with the Company within the previous 61 days to 18 months. See
         Goodman IH at 128:11-22. Depending on the point-of-sale or recordkeeping
         system used at the time, the time period used to define the consumer may vary
         slightly. See Goodman IH at 130:1-11.

  O.     “Loan ID” means a unique identifier used in Your internal recordkeeping to
         identify individual loans (or, if unavailable, a unique identifier generated for
         purpose of responding to this CID).

  P.     “New Customer” is a term used by the Company to mean a first-time customer
         or a consumer who has not had an outstanding loan balance with the Company in
         the previous 18 months. See Goodman IH at 128:1-10. Depending on the point-
         of-sale or recordkeeping system used at the time, the time period to define the
         consumer may vary slightly. See Goodman IH at 130:1-11.

  Q.     “Person” means an individual, partnership, company, corporation, association
         (incorporated or unincorporated), trust, estate, cooperative organization, or other
         entity.

  R.     “Personnel File” means all job-related documents regarding an employee,
         regardless of whether such documents are stored and maintained by the
         Company’s human resources department, and including—but not limited to—
         records related to hiring (e.g., employment applications), copies of employment
         contracts or compliance agreements, job descriptions, training completion
         records, performance evaluations, records relating to disciplinary action
         considered or taken by the Company, separation paperwork (e.g., termination
         notices, resignation letters), salary information, and performance awards
         received.

  III.   Instructions
  A.     Sharing of Information: This CID relates to a nonpublic, law-enforcement
         investigation being conducted by the Bureau. The Bureau may make its files
         available to other civil and criminal federal, state, or local law-enforcement
         agencies under 12 C.F.R. §§ 1070.43(b)(1) and 1070.45(a)(5). Information you
         provide may be used in any civil or criminal proceeding by the Bureau or other
         agencies. As stated in 12 C.F.R. § 1080.14, information you provide in response to
         this CID is subject to the requirements and procedures relating to the disclosure
         of records and information set forth in 12 C.F.R. pt. 1070.

  B.     Meet and Confer: As stated in 12 C.F.R. § 1080.6(c), you must contact
         Enforcement Attorney Gregory Nodler at (202) 435-7619 as soon as possible
         to schedule a meeting (telephonic or in person) to discuss your response to the



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       CID. The meeting must be held within ten (10) calendar days after you receive
       this CID or before the deadline for filing a petition to modify or set aside the CID,
       whichever is earlier.

  C.   Applicable Period for Responsive Materials: Unless otherwise directed,
       the applicable period for each request is from July 1, 2017, until February 1,
       2023.

  D.   Privilege Claims: If any material responsive to this CID is withheld on the
       grounds of privilege, you must make the privilege claim no later than the date set
       for the production of the material. As stated in 12 C.F.R. § 1080.8(a), any such
       claim must include a schedule of the documents, information, or tangible things
       withheld that states, for each:

          (a) its type, specific subject matter, and date;

          (b) the names, addresses, positions, and organizations of all authors and
              direct or indirect recipients;

          (c) the specific grounds for claiming the privilege;

          (d) the request to which the privileged document, information, or thing is
              responsive; and

          (e) its Bates number or range.

       In addition, the person who submits the schedule and the attorney stating the
       grounds for the privilege must sign it. A person withholding material solely based
       on a claim of privilege must comply with the requirements of 12 C.F. R. § 1080.8
       rather than file a petition for an order modifying or setting aside a demand under
       12 C.F.R. § 1080.6(e). Please follow the enclosed Document Submission
       Standards for further instructions about producing redacted privileged
       documents.

  E.   Document Retention: Until you are notified otherwise, you are required to
       retain all documents and other tangible things that you used or relied on in
       responding to this CID. In addition, you must retain, and suspend any
       procedures that may result in the destruction of, documents, information, or
       tangible things that are in any way relevant to the investigation, as described in
       the CID’s Notification of Purpose. You are required to prevent the destruction of
       relevant material irrespective of whether you believe such material is protected
       from future disclosure or discovery by privilege or otherwise. See 18 U.S.C.
       §§ 1505, 1519.

  F.   Modification Requests: If you believe that the scope of the search or response
       required by this CID can be narrowed consistent with the Bureau’s need for
       documents or information, you are encouraged to discuss such possible
       modifications, including modifications of the requirements of these instructions,



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       with Enforcement Attorney Gregory Nodler at (202) 435-7619.
       Modifications must be agreed to in writing by the Enforcement Director or a
       Deputy Enforcement Director. 12 C.F.R. § 1080.6(d).

  G.   Petition for Order Modifying or Setting Aside Demand: Under
       12 U.S.C. § 5562(f) and 12 C.F.R. § 1080.6(e), you may petition the Bureau for an
       order modifying or setting aside this CID. To file a petition, you must send it by e-
       mail to the Bureau’s Executive Secretary at ExecSec@cfpb.gov, copying the
       Enforcement Director at Enforcement@cfpb.gov, within 20 calendar days of
       service of the CID or, if the return date is less than 20 calendar days after service,
       before the return date. The subject line of the e-mail must say “Petition to Modify
       or Set Aside Civil Investigative Demand.” If a request for confidential treatment is
       filed, you must file a redacted public petition in addition to the unredacted
       petition. All requests for confidential treatment must be supported by a showing
       of good cause in light of applicable statutes, rules, Bureau orders, court orders, or
       other relevant authority.

  H.   Certification: The person to whom the CID is directed or, if it is directed to an
       entity, any person having knowledge of the facts and circumstances relating to
       the production, must certify that the response to this CID is true and complete.
       This certification must be made on the form declaration included with this CID.

  I.   Scope of Search: This CID covers materials and information in your
       possession, custody, or control, including but not limited to documents in the
       possession, custody, or control of your attorneys, accountants, other agents or
       consultants, directors, officers, and employees.

  J.   Document Production: The Bureau encourages the electronic production of
       all material responsive to this CID; please follow the enclosed Document
       Submission Standards and submit the production following the enclosed
       Extranet Guide.

          (a) For all packages destined for Bureau offices, please contact Enforcement
              Attorney Gregory Nodler for the mailing or internet-protocol address.

          (b) Please provide any tracking numbers by e-mail to Enforcement Attorney
              Gregory Nodler at gregory.nodler@cfpb.gov.

  K.   Separation of Documents for Production: Documents may not be
       combined for the purpose of production unless the documents are stored
       together as a single file in the normal course of business. To the extent that a
       document consists of a printed version of an internet or intranet website, the
       produced document should consist only of the printout of a single webpage. Such
       website printouts should not be attached to each other or combined for
       production into a larger document unless such consolidation is necessary for the
       understanding of a specific page within the webpage.




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  L.   Document Identification: Documents that may be responsive to more than
       one request of this CID need not be submitted more than once. All documents
       responsive to this CID must be accompanied by an index that identifies: (i) the
       name of each custodian of each responsive document; (ii) the corresponding
       Bates number or range used to identify that person’s documents; and (iii) the
       request or requests to which each document responds.

  M.   Sensitive Personally Identifiable Information: If any material called for
       by these requests contains sensitive personally identifiable information, sensitive
       health information of any individual, or Suspicious Activities Reports, please
       contact Enforcement Attorney Gregory Nodler at (202) 435-7619 before
       sending those materials to discuss ways to protect the information during
       production. You must encrypt electronic copies of such materials with encryption
       software acceptable to the Bureau. When submitting encrypted material, you
       must provide the encryption key, certificate, or passcode in a separate
       communication.

       For purposes of this CID, sensitive personally identifiable information includes
       an individual’s Social Security number alone or an individual’s name, address, or
       phone number in combination with one or more of the following: date of birth,
       Social Security number, driver’s-license number or other state-identification
       number, or a foreign country equivalent, passport number, financial-account
       number, credit-card number, or debit-card number. Sensitive health information
       includes medical records and other individually identifiable health information
       relating to the past, present, or future physical or mental health or conditions of
       an individual, the provision of health care to an individual, or the past, present,
       or future payment for the provision of health care to an individual.

  N.   Information Identification: Each request for a written report or
       interrogatory in this CID must be answered separately and fully in writing under
       oath. All information submitted must clearly and precisely identify the request or
       requests to which it is responsive.

  O.   Submission of Documents in lieu of Answers: Documents in existence
       before your receipt of this CID that contain the information requested in any
       interrogatory may be submitted as part of or in lieu of an answer to the
       interrogatory. If you submit documents as part of or in lieu of an answer, you
       must clearly indicate the specific request to which the documents are responsive,
       and you must clearly identify the specific portion of the documents that are
       responsive, including page, paragraph, and line numbers, as applicable.

  P.   Declaration Certifying Records of Regularly Conducted Business
       Activity: Attached is a Declaration Certifying Records of Regularly Conducted
       Business Activity, which may limit the need to subpoena you to testify at future
       proceedings to establish the admissibility of documents produced in response to
       this CID. Please execute this Declaration and provide it with your response.




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  Q.   All references to “year” or “annual” refer to the calendar year. Where
       information is requested “for each year,” provide it separately for each year;
       where yearly data is not available, provide responsive information for the
       calendar year to date, unless otherwise instructed.

  R.   Duty to Estimate: If you are unable to answer any interrogatory fully, supply
       such information as is available. Explain why such answer is incomplete, the
       efforts you made to obtain the information, and the source from which the
       complete answer may be obtained. If books and records that provide accurate
       answers are not available, enter best estimates and describe how the estimates
       were derived, including the sources or bases of such estimates. Estimated data
       should be followed by the notation “est.” If there is no reasonable way to make an
       estimate, provide an explanation.




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                   DECLARATION CERTIFYING RECORDS OF
                 REGULARLY CONDUCTED BUSINESS ACTIVITY
                        Pursuant to 28 U.S.C. § 1746

  I, ______________________________, pursuant to 28 U.S.C. § 1746, declare
  that:

     1. I am employed by _____________________ as ___________________

        and by reason of my position am authorized and qualified to certify the

        authenticity of the records produced by Purpose Financial, Inc. and submitted

        with this Declaration.

     2. The documents produced and submitted with this Declaration by Purpose

        Financial, Inc., which are numbered ________ through ________, are true

        copies of records of regularly conducted activity that were:

            a. made at or near the time of the occurrence of the matters set forth, by, or

               from information transmitted by, a person with knowledge of those

               matters;

            b. kept in the course of the regularly conducted business activity; and

            c. made by the regularly conducted business activity as a regular practice.

  I certify under penalty of perjury that the foregoing is true and correct. Executed on

  ___________________.



                                                  __________________________
                                                  Signature
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                           CERTIFICATE OF COMPLIANCE


  I, _________________________________________, pursuant to 28 U.S.C. §

  1746, declare that:



   1. I have confirmed that a diligent search has been made for all responsive documents

       and information in the possession, custody, or control of Purpose Financial, Inc..

   2. All of the documents and information identified through the search described in

       paragraph 1 above required by the Civil Investigative Demand dated February 10,

       2023 that are within the possession, custody, or control of Purpose Financial, Inc.

       have been submitted to the Bureau custodian or deputy custodian identified in this

       Civil Investigative Demand.

   3. If a document or tangible thing responsive to this Civil Investigative Demand has

       not been submitted, an interrogatory or a portion of an interrogatory has not been

       fully answered, or a report or a portion of a report has not been completed, a claim

       of privilege in compliance with 12 C.F.R. § 1080.8 has been submitted.

   4. Purpose Financial, Inc. has reviewed all responsive answers, reports, other

       documents and tangible things (collectively “Responses”), and has designated as

       confidential all those Responses, and only those Responses, that meet the

       definition of confidential as that term is used for purposes of the Freedom of

       Information Act, 5 U.S.C. § 552(b)(4).

     5. All answers and reports prepared in response to the Civil Investigative Demand

         dated February 10, 2023 are true and complete.
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  I certify under penalty of perjury that the foregoing is true and correct. Executed on

  ___________________.



                                                 ____________________________
                                                 Signature
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                    CERTIFICATE OF COMPLIANCE WITH RFPA


         The Right to Financial Privacy Act of 1978 (RFPA) does not apply to the
  disclosure of financial records or information to the Consumer Financial Protection
  Bureau “in the exercise of its authority with respect to a financial institution.” 12 U.S.C.
  § 3413(r). This Civil Investigative Demand is also issued in connection with an
  investigation within the meaning of section 3413(h)(1)(A) of the RFPA. Therefore, in
  accordance with section 3403(b) of the RFPA, the undersigned certifies that, to the
  extent applicable, the provisions of the RFPA have been complied with as to the Civil
  Investigative Demand issued to Purpose Financial, Inc., to which this Certificate is
  attached.

         The information obtained will be used to determine whether the persons named
  or referred to in the attached Civil Investigative Demand are in compliance with laws
  administered by the Consumer Financial Protection Bureau. The information may be
  transferred to another department or agency consistent with the RFPA.

         Under the RFPA, good faith reliance on this Certificate relieves the recipient and
  its employees and agents of any liability to customers in connection with the requested
  disclosures of financial records of these customers. See 12 U.S.C. § 3417(c).

                                                            Digitally signed by RICHA
                                            RICHA           DASGUPTA

                                            DASGUPTA        Date: 2023.02.10
                                                            10 50:04 -05'00'




                                             Richa Dasgupta
                                             Consumer Financial Protection Bureau
                                             Deputy Director, Office of Enforcement
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  CID Document Submission Standards
  This document describes the technical requirements for producing electronic document
  collections to the Bureau of Consumer Financial Protection (“the Bureau”)’s Office of
  Enforcement. All documents shall be produced in complete form, in color when necessary to
  interpret the document, unredacted unless privileged, and shall not be edited, cut, or
  expunged. These standards must be followed for all documents you submit in response to the
  CID. Any proposed file formats other than those described below must be discussed with the
  legal and technical staff of the Bureau’s Office of Enforcement prior to submission.




  2    CONSUMER FINANCIAL PROTECTION BUREAU – DOCUMENT SUBMISSION STANDARDS
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  A. Transmittal Instructions
      1) A cover letter should be included with each production. The following information
         should be included in the letter:
         a) Name of the party making the production and the date of the CID to which the
             submission is responsive.
         b) List of each piece of media (hard drive, thumb drive, DVD or CD) included in the
             production (refer to the media by the unique number assigned to it, see ¶ 4)
         c) The Bates Range (and any gaps therein)
         d) The specification(s) or portions thereof of the CID to which the submission is
             responsive.
      2) Documents created or stored electronically MUST be produced in their original
         electronic format, not converted to another format such as PDF.
      3) Transmittal Methods
         a) Extranet
             The Extranet is the Bureau’s secure file transfer solution that is used to receive
             productions from third parties via a webͲbased FTPS protocol utility. Instructions on
             how to access the Extranet and corresponding credentials are provided upon
             request. When utilizing the Extranet, the following policies must be adhered to:
             i) Directories: The system does not support uploading directories (folders). To
                  upload a directory, please compress (or zip) and upload the zipped container.
             ii) Size: Maximum 2 GB per file or container. Larger productions should be split
                  across multiple 2 GB zipped containers.
             iii) Quantity: There is no limit to how many files or containers can be uploaded
                  simultaneously.
             iv) File types: A list of prohibited file types is available in Appendix B.
         b) Physical Media
             The Bureau recognizes that some conditions of environment or data format may
             restrict production eligibility for transmittal via the Extranet. Such productions may
             be produced on CD, DVD, USB thumb drive, or hard drive; use the media requiring
             the least number of deliverables.
             i) Magnetic media shall be carefully packed to avoid damage and must be clearly
                  marked on the outside of the shipping container:
                  (1) “MAGNETIC MEDIA – DO NOT USE METAL DETECTOR”
                  (2) “MAY BE OPENED FOR POSTAL INSPECTION”
             ii) CDͲR CDͲROMs should be formatted to ISO 9660 specifications;
             iii) DVDͲROMs for WindowsͲcompatible personal computers are acceptable;




  3    CONSUMER FINANCIAL PROTECTION BUREAU – DOCUMENT SUBMISSION STANDARDS
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             iv) USB 2.0 thumb drives for WindowsͲcompatible personal computers are
                  acceptable;
             v) USB 3.0 or USB 3.0/eSATA external hard disk drives, formatted in a
                  Microsoft WindowsͲcompatible file system (FAT32 or NTFS), uncompressed
                  data are acceptable.
             vi) Physical media should be delivered via overnight delivery service or courier,
                  NOT via US Postal Service.
             vii) Label all media with the following:
                  (1) Production date
                  (2) Bates range
                  (3) Disk number (1 of X), if applicable
                  (4) Name of producing party
                  (5) A unique production number identifying each production
      4) All productions must be produced free of computer viruses. Infected productions may
         affect the timing of your compliance with the CID.
      5) All physical produced media must be encrypted. Encryption format must be agreed
         upon prior to production.
         a) Data deliveries should be encrypted at the disc level.
         b) Decryption keys should be provided separately from the data delivery via email or
             phone.
      6) Passwords for documents, files, and compressed archives should be provided separately
         either via email or in a separate cover letter from the data.


  B. Delivery Formats
      1) General ESI Standards
         Before submitting any Electronically Stored Information (“ESI”) or any other documents
         submitted in electronic form that do not conform completely to the listed specifications,
         you must confirm with the Bureau that the proposed formats and media types that
         contain such ESI will be acceptable. You are encouraged to discuss your specific form of
         submission, and any related questions with the Bureau as soon as is practicable and not
         later than the Meet and Confer required pursuant to 12 C.F.R. § 1080.6(c).

         All productions must follow the specifications outlined below:

         DeͲduplication
         DeͲduplication of documents should be applied across custodians (global); each
         custodian should be identified in the Custodian field in the metadata load file separated



  4    CONSUMER FINANCIAL PROTECTION BUREAU – DOCUMENT SUBMISSION STANDARDS
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         by semiͲcolon. The first name in the Custodian list should represent the original holder
         of the document.

         Bates Numbering Documents
         The Bates number must be a unique, sequential, consistently formatted identifier, i.e.,
         an alpha prefix unique to each producing party along with a fixed length number, i.e.,
         ABC0000001. This format must remain consistent across all productions. The number of
         digits in the numeric portion of the format should not change in subsequent
         productions, nor should hyphens or other separators be added or deleted.

         Document Retention / Preservation of Metadata
         The recipient of this CID should use reasonable measures to maintain the original native
         source documents in a manner so as to preserve the metadata associated with these
         electronic materials as it existed at the time of the original creation.

         Email Threading
         The use of email threading for review is encouraged, but production of relevant email
         threads must include both inclusive and nonͲinclusive individual emails and attachments
         unless otherwise agreed to during the Meet & Confer.

      2) Native and Image Production
         In general, and subject to the specific instructions below: (1) produce electronic
         documents in their complete native/original format along with corresponding batesͲ
         labeled single page TIFF images (with the exception of large spreadsheets and/or text
         files, those files should be processed and a placeholder TIFF image indicating that they
         were produced natively provided); (2) scan and process all paper documents into single
         page TIFF images, OCR the images, and apply bates numbers to each page of the image;
         (3) produce fully searchable document level text for every produced document; and (4)
         produce metadata for every produced document in a data file that conforms to the
         specific instructions below.

         a) Metadata File
            All produced documents, regardless of their original file format, must be produced
            with the belowͲdescribed metadata fields in a data file (.DAT).
            i) The first line of the .DAT file must be a header row identifying the field names.
            ii) The .DAT file must use the default delimiters (see Table 1)
            iii) Date fields should be provided in the format: mm/dd/yyyy
            iv) All attachments should sequentially follow the parent document/email.



  5    CONSUMER FINANCIAL PROTECTION BUREAU – DOCUMENT SUBMISSION STANDARDS
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            v) All documents shall be produced in both their native/original form and as a
                 corresponding batesͲlabeled single page TIFF image; provide the link to the
                 original/native document in the NATIVELINK field.
            vi) Produce extracted metadata for each document in the form of a .DAT file, and
                 include the fields in Table 2 (fields should be listed but left blank if not
                 applicable):
       b)   Document Text
            Searchable text of the entire document must be provided for every record, at the
            document level.
            i) Extracted text must be provided for all documents that originated in electronic
                 format.
                 Note: Any document in which text cannot be extracted must be OCR’d.
            ii) For documents redacted on the basis of any privilege, provide the OCR text for
                 unredacted/unprivileged portions.
            iii) The text should be delivered as multiͲpage ASCII text files with the files named
                 the same as the Bates_Begin field. Text files can be placed in a separate folder or
                 included with the .TIFF files.
       c)   Linked Native Files
            Copies of original email and native file documents/attachments must be included for
            all electronic productions.
            i) Native file documents must be named per the BATES_BEGIN number (the
                 original file name should be preserved and produced in the FILENAME metadata
                 field).
            ii) The full path of the native file must be provided in the .DAT file in the
                 NATIVELINK field.
       d)   Images
            i) Images should be singleͲpage, Group IV TIFF files, at 300 dpi.
            ii) File names should be titled per endorsed bates number.
            iii) Color should be preserved when necessary to interpret the document.
            iv) Bates numbers should be endorsed on the lower right corner of all images.
            v) For documents partially redacted on the basis of any privilege, ensure the
                 redaction box is clearly labeled “REDACTED”.
       e)   Image Cross Reference File
            i) The image crossͲreference file is needed to link the images to the database. It is
                 a commaͲdelimited file consisting of seven fields per line. There must be a line in
                 the crossͲreference file for every image in the database.




  6   CONSUMER FINANCIAL PROTECTION BUREAU – DOCUMENT SUBMISSION STANDARDS
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             ii) See Table 3 and Table 4 for Image Cross Reference File fields and an example
                 file.

      3) PDF File Production
         When approved, Adobe PDF files may be produced in lieu of TIFF images for scanned
         paper productions (metadata must also be produced in accordance with the instructions
         above):
         a) PDF files should be produced in separate folders named by the Custodian.
         b) All PDFs must be unitized at the document level, i.e. each PDF should represent a
            discrete document; a single PDF cannot contain multiple documents.
         c) All attachments should sequentially follow the parent document.
         d) All PDF files must contain embedded text that includes all discernible words within
            the document, not selected text only. This requires all layers of the PDF to be
            flattened first.
         e) If PDF files are Bates endorsed, the PDF files must be named by the Bates range
         f) The metadata load file listed in 2.a. should be included.

      4) Transactional Data
         If transactional data must be produced, further discussion must be had to ensure the
         intended export is properly composed. If available, a data dictionary should accompany
         the production; if unavailable, a description of fields should accompany transactional
         data productions. The following formats are acceptable:
              •MS Access
              •XML
              •CSV
              •TSV
              •Excel (with prior approval)

      5) Audio/Video/Electronic Phone Records
           These instructions refer to the production of stand alone audio files such as those
           from call recording systems. Audio files that are attached to emails should be
           processed normally.

             Audio files must be produced in a format that is playable using Microsoft Windows
             Media Player. Types of audio files that will be accepted include:
             •Nice Systems audio files (.aud). AUD files offer efficient compression and would be
             preferred over both NMF and WAV files.
             •Nice Systems audio files (.nmf).



  7    CONSUMER FINANCIAL PROTECTION BUREAU – DOCUMENT SUBMISSION STANDARDS
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             •WAV Files
             •MP3, MP4
             •WMA
             •AIF

             Produced audio files must be in a separate folder compared to other data in the
             production. Additionally, the call information (metadata) related to each audio
             recording must be produced if it exists. The metadata file must be produced in
             delimited text format (DAT, CSV, or TXT), using a tab or pipe delimiter. Field names
             must be included in the first row of the metadata file. Please note that the field
             names are case sensitive and should be created as listed below. The metadata must
             include, if available, the fields listed in Table 5.


             The filename is used to link the metadata to the produced audio file. The file name
             in the metadata and the file name used to identify the corresponding audio file must
             match exactly.

             Video files must be produced in a format that is playable using Microsoft Windows
             Media Player along with any available metadata. If it is known that the video files do
             not contain associated audio, indicate this in the accompanying transmittal letter.
             Types of video files accepted include:
             •MPG
             •AVI
             •WMV
             •MOV
             •FLV


  C. Production of Partially Privileged Documents
      If a portion of any material called for by this CID is withheld based on a claim of privilege,
      those portions may be redacted from the responsive material as long as the following
      conditions are met.

         a) If originally stored as native electronic files, the image(s) of the unredacted portions
             are submitted in a way that preserves the same appearance as the original without
             the redacted material (i.e., in a way that depicts the size and location of the
             redactions). The OCR text will be produced from the redacted image(s). Any
             redacted, privileged material should be clearly labeled to show the redactions on the



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           tiff image(s). Any metadata not being withheld for privilege should be produced in
           the DAT file; any content (e.g., PowerPoint speaker notes, Word comments, Excel
           hidden rows, sheets or columns) contained within the native and not being withheld
           for privilege should be tiffed and included in the production.

       b) If originally in hard copy form, the unredacted portions are submitted in a way that
           depicts the size and location of the redactions; for example, if all of the content on a
           particular page is privileged, a blank, sequentially numbered page should be
           included in the production where the responsive material, had it not been
           privileged, would have been located.




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                   CONSUMER FINANCIAL PROTECTION BUREAU
                     1700 G Street NW, Washington, D.C. 20552

                         Notice to Persons Supplying Information

You have been asked to supply information or speak voluntarily, or directed to provide sworn
testimony, documents, or answers to questions in response to a Civil Investigative Demand
(CID) from the Consumer Financial Protection Bureau (Bureau). This notice discusses certain
legal rights and responsibilities. Unless stated otherwise, the information below applies
whether you are providing information voluntarily or in response to a CID.

A.     False Statements; Perjury

False Statements. Section 1001 of Title 18 of the United States Code provides as follows:

      [W]hoever, in any matter within the jurisdiction of the executive … branch of the
      Government of the United States, knowingly and willfully—(1) falsifies, conceals,
      or covers up by any trick, scheme, or device a material fact; (2) makes any
      materially false, fictitious, or fraudulent statement or representation; or (3)
      makes or uses any false writing or document knowing the same to contain any
      materially false, fictitious, or fraudulent statement or entry; shall be fined under
      this title . . . [or] imprisoned not more than 5 years . . . , or both.

Perjury. Section 1621 of Title 18 of the United States Code provides as follows:

      Whoever . . . having taken an oath before a competent tribunal, officer, or person,
      in any case in which a law of the United States authorizes an oath to be
      administered, that he will testify, declare, depose, or certify truly or that any
      written testimony, declaration, deposition, or certificate by him subscribed, is
      true willfully and contrary to such oath states or subscribes any material matter
      which he does not believe to be true . . . is guilty of perjury and shall, except as
      otherwise expressly provided by law, be fined under this title or imprisoned not
      more than five years, or both. This section is applicable whether the statement or
      subscription is made within or without the United States.

B.     The Fifth Amendment; Your Right to Counsel

Fifth Amendment. Information you provide may be used against you in any federal, state, local
or foreign administrative, civil or criminal proceeding brought by the Bureau or any other
agency. If you are an individual, you may refuse, in accordance with the rights guaranteed to
you by the Fifth Amendment to the Constitution of the United States, to give any information
that may tend to incriminate you or subject you to criminal liability, including fine, penalty or
forfeiture.

Right to Counsel. You have the right to be accompanied, represented and advised by counsel
of your choice. For further information, you should consult Bureau regulations at
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12 C.F.R. § 1080.9(b).


C.        Effect of Not Supplying Information

Persons Directed to Supply Information Pursuant to CID. If you fail to comply with the CID,
the Bureau may seek a court order requiring you to do so. If such an order is obtained and you
still fail to supply the information, you may be subject to civil and criminal sanctions for
contempt of court.

Persons Requested to Supply Information Voluntarily. There are no sanctions for failing to
provide all or any part of the requested information. If you do not provide the requested
information, the Bureau may choose to send you a CID or subpoena.

D.        Privacy Act Statement

The information you provide will assist the Bureau in its determinations regarding violations of
federal consumer financial laws. The information will be used by and disclosed to Bureau
personnel and contractors or other agents who need the information to assist in activities
related to enforcement of federal consumer financial laws. The information may also be
disclosed for statutory or regulatory purposes, or pursuant to the Bureau’s published Privacy
Act system of records notice, to:

     •   a court, magistrate, administrative tribunal, or a party in litigation;
     •   another federal or state agency or regulatory authority;
     •   a member of Congress; and
     •   others as authorized by the Bureau to receive this information.

This collection of information is authorized by 12 U.S.C. §§ 5511, 5562.




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designated transfer date and the Federal    demands may be enforced in district           the real estate finance industry, and
banking agencies’ functions and             court by the Director, the General            other financial institutions.
authorities transferred to the Bureau on    Counsel, or the Assistant Director of the        The commenters generally support
July 21, 2011.                              Office of Enforcement. The Final Rule         the Interim Final Rule. Most sections of
   The Dodd-Frank Act authorizes the        also details the authority of the Bureau’s    the Interim Final Rule received no
Bureau to conduct investigations to         investigators to conduct investigations       comment and are being finalized
ascertain whether any person is or has      and hold investigational hearings             without change. The comments did,
been engaged in conduct that, if proved,    pursuant to civil investigative demands       however, contain questions and
would constitute a violation of any         for oral testimony.                           recommendations for the Bureau.
provision of Federal consumer financial       Furthermore, the Final Rule sets forth         Several of the commenters expressed
law. Section 1052 of the Dodd-Frank         the rights of persons from whom the           concern that the Interim Final Rule
Act sets forth the parameters that govern   Bureau seeks to compel information in         appeared to provide staff-level Bureau
these investigations. 12 U.S.C. 5562.       an investigation. Specifically, the Final     employees with unchecked authority to
Section 1052 became effective               Rule describes how such persons should        initiate investigations and issue CIDs, or
immediately upon transfer on July 21,       be notified of the purpose of the             that the Interim Final Rule otherwise
2011 and did not require rules to           Bureau’s investigation. It also details the   did not provide sufficient oversight for
implement its provisions. On July 28,       procedures for filing a petition for an       particular actions.
2011, the Bureau issued the interim         order modifying or setting aside a CID,          A number of commenters expressed
final rule for the Rules Relating to        which the Director is authorized to rule      concern about sections of the Interim
Investigations (Interim Final Rule) to      upon. And it describes the process by         Final Rule that relate to CIDs. One trade
provide parties involved in Bureau          which persons may obtain copies of or         association recommended that a
investigations with clarification on how    access to documents or testimony they         statement of ‘‘the purpose and scope’’ of
to comply with the statutory                have provided in response to a civil          a Bureau investigation—in addition to a
requirements relating to Bureau             investigative demand. In addition, the        notification of the nature of the conduct
investigations.                             Final Rule describes a person’s right to      constituting the alleged violation under
                                            counsel at investigational hearings.          investigation and the applicable
II. Summary of the Final Rule                                                             provisions of law—be included in CIDs.
   Consistent with section 1052 of the      III. Legal Authority                          A commenter suggested that the Bureau
Dodd-Frank Act, the final rule for the         As noted above, section 1052 of the        require a conference between CID
Rules Relating to Investigations (Final     Dodd-Frank Act outlines how the               recipients and the Assistant Director of
Rule) describes a number of Bureau          Bureau will conduct investigations and        the Office of Enforcement to negotiate
policies and procedures that apply in an    describes the rights of persons from          the terms of compliance with the
investigational, nonadjudicative setting.   whom the Bureau seeks information in          demand. Three of the trade associations
Among other things, the Final Rule sets     investigations. This section became           noted concern with the statement that
forth (1) the Bureau’s authority to         effective immediately upon the                extensions of time are disfavored for
conduct investigations, and (2) the         designated transfer date, July 21, 2011,      petitions to modify or set aside CIDs.
rights of persons from whom the Bureau      without any requirement that the              Two commenters questioned who
seeks to compel information in              Bureau first issue procedural rules.          would rule on such petitions without a
investigations.                             Nevertheless, the Bureau believes that        confirmed Director. One trade
   Like the Interim Final Rule, the Final   the legislative purpose of section 1052       association commented that witnesses
Rule is modeled on investigative            will be furthered by the issuance of          should be permitted to object to
procedures of other law enforcement         rules that specify the manner in which        questions demanding information
agencies. For guidance, the Bureau          persons can comply with its provisions.       outside of the scope of the investigation
reviewed the procedures currently used         Section 1022 of the Dodd-Frank Act         during an investigational hearing
by the FTC, the Securities and Exchange     authorizes the Director to prescribe          pursuant to a CID for oral testimony.
Commission (SEC), and the prudential        rules as may be necessary or appropriate         A number of commenters expressed
regulators, as well as the FTC’s recently   for the Bureau to administer and carry        concern about maintaining the
proposed amendments to its                  out the purposes and objectives of            confidentiality of demand material,
nonadjudicative procedures. In light of     Federal consumer financial laws and to        sharing information with other State
the similarities between section 1052 of    prevent evasion of those laws. 12 U.S.C.      and Federal agencies, and the duties of
the Dodd-Frank Act and section 20 of        5512. The Bureau believes that the Final      the custodians of those materials. For
the Federal Trade Commission Act (FTC       Rule will effectuate the purpose of           example, one trade association and the
Act), 15 U.S.C. 41 et seq., the Bureau      section 1052 and facilitate compliance        mortgage company recommended that
drew most heavily from the FTC’s            with Bureau investigations.                   investigations should remain
nonadjudicative procedures in                                                             confidential in all circumstances.
constructing the rules.                     IV. Overview of Public Comments on            Another trade association asserted that
   The Final Rule lays out the Bureau’s     the Interim Final Rule                        the Bureau is not permitted to engage in
authority to conduct investigations           After publication of the Interim Final      joint investigations with State attorneys
before instituting judicial or              Rule on July 28, 2011, the Bureau             general.
administrative adjudicatory proceedings     accepted public comments until                   The Bureau reviewed all of the
under Federal consumer financial law.       September 26, 2011. During the                comments on its Interim Final Rule
The Final Rule authorizes the Director,     comment period, the Bureau received           thoroughly and addresses the significant
the Assistant Director of the Office of     seven comments. Two of the comments           issues they raise herein. Although most
Enforcement, and the Deputy Assistant       were submitted by individual                  sections of the Interim Final Rule
Directors of the Office of Enforcement to   consumers. Four trade associations and        received no comment and are being
issue civil investigative demands (CIDs)    a mortgage company also submitted             finalized without change, the Bureau
for documentary material, tangible          comments. The trade associations              has made several changes to the Interim
things, written reports, answers to         represent credit unions, banks,               Final Rule based on the comments it
questions, or oral testimony. The           consumer credit companies, members of         received. The comments and these
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changes are discussed in more detail in        A commenter recommended that             interest. Section 1080.3 is consistent
parts V and VI of the SUPPLEMENTARY         covered persons be allowed to recover       with the Bureau’s mission to protect
INFORMATION.                                attorneys’ fees and costs incurred by       consumers by investigating potential
                                            defending against an investigation that     violations of Federal consumer financial
V. General Comments
                                            is shown to be without merit. The Dodd-     law. The Bureau received no comments
   Some comments on the Interim Final       Frank Act does not provide the right to     on § 1080.3 of the Interim Final Rule
Rule were not directed at a specific        recover fees and costs by defending         and is adopting it as the Final Rule
section but rather concerned issues of      against an investigation. Further, as       without change.
general applicability. The Bureau           explained below, the Bureau believes
addresses those comments in this                                                        Section 1080.4 Initiating and
                                            that the procedures for petitioning to      Conducting Investigations
section and addresses comments related      modify or set aside a CID set forth in
to specific sections of the Interim Final   § 1080.6(d) of the Interim Final Rule          This section of the Interim Final Rule
Rule in part VI.                            (now 1080.6(e) of the Final Rule)           explains that Bureau investigators are
   One commenter asked the Bureau to        provide sufficient protections to a         authorized to conduct investigations
specify who would rule on petitions to      recipient of a demand it believes lacks     pursuant to section 1052 of the Dodd-
set aside or modify CIDs while the          merit.                                      Frank Act.
Bureau lacked a Director. This                                                             A commenter observed that this
commenter also asked who would              VI. Section-by-Section Summary              section of the Interim Final Rule did not
review requests to the Attorney General     Section 1080.1   Scope                      explicitly provide a procedure for senior
under § 1080.12 for authority to                                                        agency officials to authorize the opening
immunize witnesses and to order them          This section describes the scope of the   of an investigation. The commenter
to testify or provide other information.    Interim Final Rule. It makes clear that     argued that only senior agency officials
The President appointed a Director of       these rules only apply to investigations    should decide whether to initiate
the Bureau on January 4, 2012.              under section 1052 of the Dodd-Frank        investigations. The commenter
Therefore, both questions posed by this     Act. The Bureau received no comment         questioned whether staff-level
commenter are moot. The Director or         on § 1080.1 of the Interim Final Rule       employees could open investigations
any official to whom the Director has       and is adopting it as the Final Rule        and issue CIDs without sufficient
delegated his authority pursuant to 12      without change.                             supervision, and noted that the FTC’s
U.S.C. 5492(b) will rule on petitions to    Section 1080.2   Definitions                analogous rule specifically lists the
set aside or modify CIDs. Furthermore,                                                  senior officials to whom the
the Bureau has revised § 1080.12 to            This section of the Interim Final Rule   Commission has delegated, without
clarify that only the Director has the      defines several terms used throughout       power of redelegation, the authority to
authority to request approval from the      the rules. Many of these definitions also   initiate investigations.
Attorney General for the issuance of an     may be found in section 1051 of the            A commenter also expressed concern
order immunizing witnesses.                 Dodd-Frank Act.                             that the FTC’s analogous rule explicitly
   A commenter asserted that section           A commenter questioned the breadth       provides that FTC investigators must
1052(c)(1) of the Dodd-Frank Act            of the definition of the term ‘‘Assistant   comply with the laws of the United
prohibits the Bureau from issuing CIDs      Director of the Division of                 States and FTC regulations. According
after the institution of any proceedings    Enforcement.’’ The commenter argued         to the commenter, such language is
under Federal consumer financial laws,      that because that term was defined to       necessary to ensure that the Bureau
including proceedings initiated by a        include ‘‘any Bureau employee to whom       complies with the Right to Financial
State or a private party. The commenter     the Assistant Director of the Division of   Privacy Act (RFPA) to the extent that
argued that a CID should be                 Enforcement has delegated authority to      statute applies to the Bureau. The
accompanied by a certification that the     act under this part,’’ the Interim Final    commenter also believes that this
demand will have no bearing on any          Rule could give Bureau employees            language is needed to guard against
ongoing proceeding. Section 1052(c)(1)      inappropriately broad authority to take     investigations undertaken for what the
provides, in relevant part, that ‘‘the      certain actions, such as issuing CIDs.      commenter characterized as the
Bureau may, before the institution of          The Bureau has revised the Final Rule    impermissible purpose of aiding State
any proceedings under the Federal           in response to these comments. The          attorneys general or State regulators.
consumer financial law, issue in            Final Rule identifies those with            The commenter suggested that the
writing, and cause to be served upon        authority to take particular actions        Bureau add a statement to this section
such person, a civil investigative          under each section of the Final Rule.       of the Interim Final Rule similar to the
demand.’’ The language ‘‘before the         Sections 1080.4 (initiating and             FTC’s rule requiring compliance with
institution of any proceeding under         conducting investigations) and 1080.6       Federal law and agency regulations.
Federal consumer financial law’’ refers     (civil investigative demands) of the           The Final Rule clarifies that only the
to the institution of proceedings by the    Final Rule clarify that the authority to    Assistant Director or any Deputy
Bureau. It does not limit the Bureau’s      initiate investigations and issue CIDs      Assistant Director of the Office of
authority to issue CIDs based upon the      cannot be delegated by the identified       Enforcement has the authority to initiate
commencement of a proceeding by other       officials. The Final Rule also changes      investigations. The Bureau has
parties.                                    the defined term ‘‘Division of              significant discretion to determine
   Another commenter requested that         Enforcement’’ to ‘‘Office of                whether and when to open an
the Bureau exempt all credit unions         Enforcement’’ to reflect the Bureau’s       investigation, and the public benefits
from Bureau investigations. The Bureau      current organizational structure.           from a process whereby the Bureau can
believes that granting an exemption                                                     open and close investigations
from the Bureau’s enforcement authority     Section 1080.3   Policy as to Private       efficiently. But the Bureau did not
through the Final Rule would be             Controversies                               intend its rules to be interpreted so
inappropriate and that there is an            This section of the Interim Final Rule    broadly as to suggest that any staff-level
insufficient record to support such an      states the Bureau’s policy of pursuing      employee could unilaterally open an
exemption.                                  investigations that are in the public       investigation or issue a CID. The Final
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Rule also provides that Bureau               CIDs. In addition, to the extent             the scope of requests, issues related to
investigators will perform their duties in   recipients of CIDs consider the demands      electronically stored information (ESI),
accordance with Federal law and              to be for an unauthorized purpose or         issues related to privilege and
Bureau regulations.                          outside the scope of the investigation,      confidential information, and a
                                             they will have an opportunity to             reasonable time for compliance. The
Section 1080.5 Notification of Purpose
                                             negotiate the terms of compliance            commenter stated that this type of
   This section of the Interim Final Rule    pursuant to § 1080.6(c) of the Interim       conference would better ensure prompt
specifies that a person compelled to         Final Rule (now § 1080.6(d) of the Final     and efficient production of material and
provide information to the Bureau or to      Rule) or to petition to set aside or         information related to the investigation.
testify in an investigational hearing        modify the demand pursuant to                   The Bureau agrees that a conference
must be advised of the nature of the         § 1080.6(d) of the Interim Final Rule        between the parties within ten calendar
conduct constituting the alleged             (now § 1080.6(e) of the Final Rule).         days of serving a CID is likely to
violation under investigation and the          The Bureau therefore adopts this           improve the efficiency of investigations,
applicable provisions of law. This           section of the Interim Final Rule as the     and § 1080.6(c) of the Final Rule
section of the Interim Final Rule            Final Rule without change.                   provides for such a conference. The
implements the requirements for CIDs                                                      Final Rule does not, however, adopt the
described in section 1052(c)(2) of the       Section 1080.6 Civil Investigative
                                                                                          suggestion that the Assistant Director of
Dodd-Frank Act.                              Demands
                                                                                          the Office of Enforcement preside over
   Commenters noted that although the           This section of the Interim Final Rule    all such conferences.
Dodd-Frank Act and the FTC Act both          lays out the Bureau’s procedures for            Several commenters also noted
require CIDs to state ‘‘the nature of the    issuing CIDs. It authorizes the Assistant    concern with the statement in
conduct constituting the alleged             Director of the Office of Enforcement to     § 1080.6(d) of the Interim Final Rule
violation which is under investigation       issue CIDs for documentary material,         disfavoring extensions of time for
and the provision of law applicable to       tangible things, written reports, answers    petitioning for an order modifying or
such violation,’’ the two agencies’          to questions, and oral testimony. This       setting aside CIDs. One commenter
implementing regulations on this topic       section of the Interim Final Rule details    argued that the 20-day period to file
differ. Both agencies’ regulations require   the information that must be included        petitions, for which extensions of time
a statement of the nature of the conduct     in CIDs and the requirement that             are disfavored, is inconsistent with the
at issue and the relevant provisions of      responses be made under a sworn              ‘‘reasonable’’ period of time for
law, but the FTC rule also requires that     certificate. Section 1080.6 of the Interim   compliance with the CID set forth in
the recipient of the CID be advised of       Final Rule also authorizes the Assistant     § 1080.6(a). The commenter also argued
‘‘the purpose and scope’’ of the             Director of the Office of Enforcement to     that this timeframe leaves a short period
investigation. Commenters argued that        negotiate and approve the terms of           for the CID recipient to decide which
the Bureau should add this phrase to its     compliance with CIDs and grant               documents are privileged or otherwise
rule because excluding it would lead to      extensions for good cause. Finally, this     protected and to file a petition
requests for materials outside the scope     section of the Interim Final Rule            articulating privilege and scope
of an investigation. One commenter           describes the procedures for seeking an      objections. Another commenter noted
argued that only senior agency officials     order to modify or set aside a CID,          that the analogous FTC rules do not
should authorize investigations to           which the Director is authorized to rule     include a provision disfavoring
ensure that CIDs are relevant to the         upon.                                        extensions for petitions to modify or set
purpose and scope of the Bureau’s               One commenter argued that                 aside a CID. These commenters
investigations.                              § 1080.6(a) permits almost any Bureau        recommended that the Bureau delete the
   The language in § 1080.5 of the           employee to issue CIDs without               sentence related to disfavoring
Interim Final Rule mirrors the language      sufficient supervision. The commenter        extensions. One commenter
of the Dodd-Frank Act, which provides        stated that this lack of oversight is        recommended that the rules be
that ‘‘[e]ach civil investigative demand     problematic and does not reflect             corrected to provide an independent
shall state the nature of the conduct        Congress’ intent when it enacted the         review if a covered person believes a
constituting the alleged violation which     Act.                                         CID is without merit.
is under investigation and the provision        Section 1080.6(a) of the Final Rule          Like the Interim Final Rule, the Final
of law applicable to such violation.’’       limits the authority to issue CIDs to the    Rule includes a provision disfavoring
The Bureau believes that the                 Director, the Assistant Director of the      extensions of time for petitions to
information covered by this statutory        Office of Enforcement, and the Deputy        modify or set aside a CID. The Bureau
language provides sufficient notice to       Assistant Directors of the Office of         believes its policy of disfavoring
recipients of CIDs. As discussed above,      Enforcement. This change to the Final        extensions is appropriate in light of its
§ 1080.4 (initiating and conducting          Rule balances the efficiency of the          significant interest in promoting an
investigations) of the Final Rule limits     Bureau’s investigative process with          efficient process for seeking materials
the authority to open investigations to      appropriate supervision and oversight.       through CIDs. By disfavoring
the Assistant Director or any Deputy            A commenter suggested that the            extensions, the Bureau means to prompt
Assistant Director of the Office of          Bureau require a conference between          recipients to decide within 20 days
Enforcement. Similarly, § 1080.6 of the      the CID recipient and the Assistant          whether they intend to comply with the
Final Rule (civil investigative demands)     Director of the Office of Enforcement        CID. The Final Rule also clarifies that
limits the authority to issue CIDs to the    within ten days of service of the CID to     this 20-day period should be computed
Director of the Bureau, the Assistant        negotiate and approve the terms of           with calendar days.
Director of the Office of Enforcement,       compliance. The commenter envisioned            The Bureau notes that § 1080.6(d) of
and the Deputy Assistant Directors of        a conference analogous to a discovery        the Interim Final Rule (now § 1080.6(e)
the Office of Enforcement. Thus, one of      planning conference under the Federal        of the Final Rule) only provides the due
these identified officials will review and   Rules of Civil Procedure, during which       date for a petition for an order
approve the initiation of all                the parties could discuss requests for       modifying or setting aside a CID. It does
investigations and the issuance of all       information, appropriate limitations on      not require recipients to comply fully
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with CIDs within 20 days. In addition,        transcript is provided to the designated    responsive to a CID. It requires the
the Final Rule provides several options       custodian.                                  recipient of the CID to assert a privilege
to recipients of CIDs that need                  A commenter argued that the Bureau       by the production date and, if so
additional time to respond. For               is not authorized to conduct joint          directed in the CID, also to submit a
example, the recipient may negotiate for      investigations with State attorneys         detailed schedule of the items withheld.
a reasonable extension of time for            general under the Dodd-Frank Act and,       Section 1080.8 also sets forth the
compliance or a rolling document              correspondingly, State attorneys general    procedures for handling the disclosure
production schedule pursuant to               cannot attend an investigational hearing    of privileged or protected information or
§ 1080.6(c) of the Interim Final Rule         as a representative of an agency with       communications.
(now § 1080.6(d) of the Final Rule).          whom the Bureau is conducting a joint          The Bureau received no comment on
   Section 1080.6(e) of the Final Rule        investigation. The commenter argued         § 1080.8 of the Interim Final Rule and
clarifies that recipients of CIDs should      that Congress distinguished between         is adopting it as the Final Rule without
not assert claims of privilege through a      State attorneys general and State           substantive change.
petition for an order modifying or            regulatory agencies in section 1042 of
                                                                                          Section 1080.9 Rights of Witnesses in
setting aside a CID. Instead, when            the Dodd-Frank Act and that State
                                                                                          Investigations
privilege is the only basis for               attorneys general are therefore not
                                              ‘‘agencies’’ with whom the Bureau can          This section of the Interim Final Rule
withholding particular materials, they
                                              partner. The commenter also asserted        describes the rights of persons
should utilize the procedures set forth
                                              that the Bureau cannot share a copy of      compelled to submit information or
in § 1080.8 (withholding requested
                                              the transcript of an investigational        provide testimony in an investigation. It
material) of the Final Rule. Section
                                              hearing with another agency without the     details the procedures for obtaining a
1080.6(e) of the Final Rule also lays out                                                 copy of submitted documents or a copy
the authority of Bureau investigators to      consent of the witness.
                                                 Another commenter argued that            of or access to a transcript of the
provide to the Director a reply to a                                                      person’s testimony. This section of the
                                              representatives of agencies with which
petition seeking an order modifying or                                                    Interim Final Rule also describes a
                                              the Bureau is conducting a joint
setting aside a CID. Specifically, the                                                    witness’s right to make changes to his or
                                              investigation may be present at an
Final Rule states that Bureau                                                             her transcript and the rules for signing
                                              investigational hearing only with the
investigators may provide the Director                                                    the transcript.
                                              witness’s consent. This commenter
with a statement setting forth any                                                           Section 1080.9 of the Interim Final
                                              stated that the Bureau should recognize
factual and legal responses to a petition.                                                Rule lays out a person’s right to counsel
                                              in the rules that a witness who does not
The Bureau will not make these                                                            at an investigational hearing and
                                              consent to the presence of a
statements or any other internal                                                          describes his or her counsel’s right to
                                              representative of another agency at an
deliberations part of the Bureau’s public                                                 advise the witness as to any question
                                              investigational hearing should not be
records. Section 1080.6(g) of the Final                                                   posed for which an objection may
                                              presumed guilty.
Rule clarifies that the Bureau, however,         The Dodd-Frank Act states that the       properly be made. It also describes the
will make publicly available both the         Bureau ‘‘may engage in joint                witness’s or counsel’s rights to object to
petition and the Director’s order in          investigations and requests for             questions or requests that the witness is
response. Section 1080.6(g) of the Final      information, as authorized under this       privileged to refuse to answer. This
Rule also clarifies that if a CID recipient   title.’’ This statutory language permits    section of the Interim Final Rule states
wants to prevent the Director from            the Bureau to engage in joint               that counsel for the witness may not
making the petition public, any showing       investigations with State or Federal law    otherwise object to questions or
of good cause must be made no later           enforcement agencies, including State       interrupt the examination to make
than the time the petition is filed. The      attorneys general, with jurisdiction that   statements on the record but may
Final Rule also adds a provision              overlaps with the Bureau’s. The             request that the witness have an
clarifying how the Bureau will serve the      Bureau’s disclosure rules also permit       opportunity to clarify any of his or her
petitioner with the Director’s order.         the Bureau to share certain confidential    answers. Finally, this section of the
   Finally, the Bureau believes the           information, including investigational      Interim Final Rule authorizes the
procedures for petitions to modify or set     hearing transcripts, with Federal or        Bureau investigator to take all necessary
aside a CID set forth in the Final Rule       State agencies to the extent the            action during the course of the hearing
adequately protect a covered person           disclosure is relevant to the exercise of   to avoid delay and to prevent or restrain
who believes a CID is without merit,          an agency’s statutory or regulatory         disorderly, dilatory, obstructionist, or
and that an additional independent            authority. See 12 CFR 1070.43(b). In        contumacious conduct, or
review is unnecessary.                        addition, neither the Dodd-Frank Act        contemptuous language.
                                              nor the rules require the consent of the       A commenter noted that under the
Section 1080.7   Investigational
                                              witness to permit a representative of an    Interim Final Rule witnesses could not
Hearings
                                              agency with which the Bureau is             object during an investigational hearing
   This section of the Interim Final Rule     conducting a joint investigation to be      on the ground that a question was
describes the procedures for                  present at the hearing. Consent is          outside the scope of the investigation.
investigational hearings initiated            required only when people other than        The commenter argued that a covered
pursuant to a CID for oral testimony. It      those listed in the rule are included.      person’s inability to raise such
also lays out the roles and                      Thus, the Bureau adopts § 1080.7 of      objections might allow ‘‘a fishing
responsibilities of the Bureau                the Interim Final Rule as the Final Rule    expedition.’’ The commenter
investigator conducting the                   without change.                             recommended amending § 1080.9(b) to
investigational hearing, which include                                                    allow objections based on scope.
excluding unauthorized persons from           Section 1080.8 Withholding Requested           Section 1052(c)(13)(D)(iii) of the
the hearing room and ensuring that the        Material                                    Dodd-Frank Act states, in relevant part:
investigational hearing is transcribed,         This section of the Interim Final Rule       [a]n objection may properly be made,
the witness is duly sworn, the transcript     describes the procedures that apply         received, and entered upon the record when
is a true record of the testimony, and the    when persons withhold material              it is claimed that such person is entitled to
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refuse to answer the question on grounds of        also authorizes the Assistant Director of     under 18 U.S.C. 6004 and requiring a
any constitutional or other legal right or         the Office of Enforcement to close the        witness to testify or provide
privilege, including the privilege against self-   investigation when the facts of an            information. The commenter noted that
incrimination, but the person shall not
                                                   investigation indicate an enforcement         the Dodd-Frank Act authorizes the
otherwise object to or refuse to answer any
question, and such person or attorney shall        action is not necessary or warranted in       Bureau, with the Attorney General’s
not otherwise interrupt the oral examination.      the public interest.                          permission, to compel a witness to
                                                      One commenter indicated that the           testify under 18 U.S.C. 6004 if the
Thus, to the extent the scope objection            Bureau’s authority to refer                   witness invokes his or her privilege
was grounded in a witness’s                        investigations to other law enforcement       against self-incrimination. The
constitutional or other legal right, it            agencies should be limited to                 commenter argued that this section
would be a proper objection.                       circumstances when it is expressly            should delegate the authority to seek
  The Final Rule clarifies that counsel            authorized to do so by the Dodd-Frank         permission to compel testimony to a
may confer with a witness while a                  Act, an enumerated consumer financial         specific individual to provide
question is pending or instruct a witness          law, or other Federal law, because of         accountability and ensure that
not to answer a question only if an                potential risks to the confidentiality of     information is not disclosed to the
objection based on privilege or work               the investigatory files.                      Attorney General in a manner that
product may properly be made. The                     The Bureau’s ability to refer matters to   violates the Right to Financial Privacy
Final Rule also describes counsel’s                appropriate law enforcement agencies is       Act. The commenter noted that the
limited ability to make additional                 inherent in the Bureau’s authority and        FTC’s analogous rule specifically lists
objections based on other constitutional           is a corollary to the Bureau’s statutorily    the senior agency officials who are
or legal rights. The Final Rule provides           recognized ability to conduct joint           authorized to make such requests to the
that if an attorney has refused to comply          investigations. The documentary               Attorney General, and identifies a
with his or her obligations in the rules           materials and tangible things obtained        liaison officer through whom such
of this part, or has allegedly engaged in          by the Bureau pursuant to a CID are           requests must be made. The commenter
disorderly, dilatory, obstructionist, or           subject to the requirements and               also suggested that § 1080.12(b) of the
contumacious conduct, or                           procedures relating to disclosure of          Interim Final Rule, which provides that
contemptuous language during an                    records and information in part 1070 of       the Assistant Director’s exercise of this
investigational hearing, the Bureau may            this title. These procedures for sharing      authority is subject to review by ‘‘the
take further action, including action to           information with law enforcement              Bureau,’’ specify who will conduct this
suspend or disbar the attorney from                agencies provide significant and              review.
further participation in the investigation         sufficient protections for these                 The Final Rule provides that only the
or further practice before the Bureau              materials.                                    Director of the Bureau has the authority
pursuant to 12 CFR 1081.107(c). The                   The Bureau has amended § 1080.11 to        to request approval from the Attorney
Final Rule also includes other                     clarify that the Assistant Director and       General for the issuance of an order
nonsubstantive changes, including                  any Deputy Assistant Director of the          requiring a witness to testify or provide
clarifying that the 30-day period that the         Office of Enforcement are authorized to       other information and granting
witness has to sign and submit his or              close investigations.                         immunity under 18 U.S.C. 6004. This
her transcript should be computed using               The Bureau adopts § 1080.11 of the         change addresses the concern that
calendar days.                                     Interim Final Rule with the changes           requests for witness immunity would be
                                                   discussed above.                              made without oversight. Limiting this
Section 1080.10 Noncompliance With                                                               authority to the Director provides
Civil Investigative Demands                        Section 1080.12 Orders Requiring
                                                   Witnesses To Testify or Provide Other         sufficient accountability.
   This section of the Interim Final Rule
                                                   Information and Granting Immunity             Section 1080.13 Custodians
authorizes the Director, the Assistant
Director of the Office of Enforcement,                This section of the Interim Final Rule       This section of the Interim Final Rule
and the General Counsel to initiate an             authorizes the Assistant Director of the      describes the procedures for designating
action to enforce a CID in connection              Office of Enforcement to request              a custodian and deputy custodian for
with the failure or refusal of a person to         approval from the Attorney General for        material produced pursuant to a CID in
comply with, or to obey, a CID. In                 the issuance of an order requiring a          an investigation. It also states that these
addition, they are authorized to seek              witness to testify or provide other           materials are for the official use of the
civil contempt or other appropriate                information and granting immunity             Bureau, but, upon notice to the
relief in cases where a court order                under 18 U.S.C. 6004. The Interim Final       custodian, must be made available for
enforcing a CID has been violated.                 Rule also sets forth the Bureau’s right to    examination during regular office hours
   The Bureau received no comment on               review the exercise of these functions        by the person who produced them.
§ 1080.10 of the Interim Final Rule and            and states that the Bureau will entertain       A commenter suggested that the
is adopting it as the Final Rule without           an appeal from an order requiring a           Bureau should detail the particular
substantive change.                                witness to testify or provide other           duties of custodians designated under
                                                   information only upon a showing that a        this section and that, without an
Section 1080.11 Disposition                        substantial question is involved, the         enumerated list of duties, the custodian
  This section of the Interim Final Rule           determination of which is essential to        would not have any responsibilities
explains that an enforcement action may            serve the interests of justice. Finally,      regarding CID materials. The commenter
be instituted in Federal or State court or         this section of the Interim Final Rule        noted that the FTC Act requires the
through administrative proceedings                 describes the applicable rules and time       custodian to take specific actions, while
when warranted by the facts disclosed              limits for such appeals.                      the Dodd-Frank Act does not. The
by an investigation. It further provides              A commenter questioned whether this        commenter suggested specifying a series
that the Bureau may refer investigations           section of the Interim Final Rule would       of custodial duties, including (1) taking
to appropriate Federal, State, or foreign          permit any Bureau employee to request         and maintaining custody of all materials
government agencies as appropriate.                that the Attorney General approve the         submitted pursuant to CIDs or
This section of the Interim Final Rule             issuance of an order granting immunity        subpoenas that the Bureau issues,
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including transcripts of oral testimony       potential reputation risk to an entity if                  The Final Rule imposes certain
taken by the Bureau; (2) maintaining          an investigation is disclosed to the                     obligations on covered persons who
confidentiality of those materials as         public. In addition, the commenter                       receive CIDs in Bureau investigations.
required by applicable law; (3)               argued that failing to conduct                           Specifically, as described above, the
providing the materials to either House       investigations confidentially will                       Final Rule sets forth the process for
of Congress upon request, after ten days      increase litigation risk. One commenter                  complying with or objecting to CIDs for
notice to the party that owns or              recommended that the Bureau issue a                      documentary material, tangible things,
submitted the materials; (4) producing        public absolution of a company if the                    written reports or answers to questions,
any materials as required by a court of       Bureau does not maintain the                             and oral testimony. Most obligations in
competent jurisdiction; and (5)               confidentiality of an investigation.                     the Final Rule stem from express
complying at all times with the Trade           Section 1080.14 of the Interim Final                   language in the Dodd-Frank Act and do
Secrets Act.                                  Rule provides that investigations                        not impose additional burdens on
   Section 1052 of the Dodd-Frank Act         generally will not be disclosed to the                   covered persons.
sets forth the duties of the Bureau’s         public, but permits Bureau investigators                   To the extent that the Final Rule
custodian. Sections 1052(c)(3) through        to disclose the existence of an                          includes provisions not expressly
(c)(6) of the Dodd-Frank Act give the         investigation when necessary to                          required by statute, these provisions
custodian responsibility for receiving        advance the investigation. The Interim                   benefit covered persons by providing
documentary material, tangible things,        Final Rule does not contemplate                          clarity and certainty. In addition, the
written reports, answers to questions,        publicizing an investigation, but rather                 Final Rule vests the Bureau with
and transcripts of oral testimony given       disclosing the existence of the                          discretion to modify CIDs or extend the
by any person in compliance with any          investigation to, for example, a potential               time for compliance for good cause.
CID. Section 1052(d) of the Dodd-Frank        witness or third party with potentially                  This flexibility benefits covered persons
Act, as well as the Bureau’s Rules for        relevant information when doing so is                    by enabling the Bureau to assess the cost
Disclosure of Records and Information         necessary to advance the investigation.                  of compliance with a civil investigative
in part 1070 of this title, outline the       This limited exception sufficiently                      demand in a particular circumstance
requirements for the confidential             balances the concerns expressed by the                   and take appropriate steps to mitigate
treatment of demand material. Section         commenter with the Bureau’s need to                      any unreasonable compliance burden.
1052(g) addresses custodial control and       obtain information efficiently.                            Moreover, because the Final Rule is
provides that a person may file, in the         Thus, the Bureau adopts § 1080.14 of                   largely based on section 20 of the FTC
district court of the United States for the   the Interim Final Rule as the Final Rule                 Act and its corresponding regulations, it
judicial district within which the office     without change.                                          should present an existing, stable model
of the custodian is situated, a petition                                                               of investigatory procedures to covered
                                              VII. Section 1022(b)(2) Provisions
for an order of such court requiring the                                                               persons. This likely familiarity to
performance by the custodian of any              In developing the Final Rule, the                     covered persons should further reduce
duty imposed upon him by section 1052         Bureau has considered the potential                      the compliance costs for covered
of the Dodd-Frank Act or by Bureau            benefits, costs, and impacts, and has                    persons.
rule. These duties and obligations do         consulted or offered to consult with the                   The Final Rule provides that requests
not require additional clarification by       prudential regulators, HUD, the SEC, the                 for extensions of time to file petitions to
rule.                                         Department of Justice, and the FTC,                      modify or set aside CIDs are disfavored.
   The Final Rule clarifies that the          including with regard to consistency                     This may impose a burden on covered
custodian has the powers and duties of        with any prudential, market, or systemic                 entities in some cases, but it may also
both section 1052 of the Dodd-Frank Act       objectives administered by such                          lead to a more expeditious resolution of
and 12 CFR 1070.3.                            agencies.1                                               matters, reducing uncertainty.
   The Bureau adopts § 1080.13 of the            The Final Rule neither imposes any                    Furthermore, the Final Rule has no
Interim Final Rule with the changes           obligations on consumers nor is                          unique impact on insured depository
discussed above.                              expected to have any appreciable                         institutions or insured credit unions
                                              impact on their access to consumer                       with less than $10 billion in assets as
Section 1080.14 Confidential                  financial products or services. Rather,                  described in section 1026(a) of the
Treatment of Demand Material and              the Final Rule provides a clear, efficient               Dodd-Frank Act. Nor does the Final
Non-Public Nature of Investigations           mechanism for investigating compliance                   Rule have a unique impact on rural
  Section 1080.14 of the Interim Final        with the Federal consumer financial                      consumers.
Rule explains that documentary                laws, which benefits consumers by                          A commenter suggested that the
materials, written reports, answers to        creating a systematic process to protect                 Bureau conduct a nonpublic study of
questions, tangible things, or transcripts    them from unlawful behavior.                             the impact of complying with a CID on
of oral testimony received by the Bureau                                                               the entities who have been subjected to
                                                1 Section 1022(b)(2)(A) of the Dodd-Frank Act
in any form or format pursuant to a CID       addresses the consideration of the potential benefits
                                                                                                       them by other agencies, with specific
are subject to the requirements and           and costs of regulation to consumers and covered         focus on those that were found not to
procedures relating to disclosure of          persons, including the potential reduction of access     have violated the law. As the
records and information in part 1070 of       by consumers to consumer financial products or           commenter implicitly recognizes, such
                                              services; the impact on depository institutions and
this title. This section of the Interim       credit unions with $10 billion or less in total assets   data does not currently exist and thus
Final Rule also states that investigations    as described in section 1026 of the Dodd-Frank Act;      was not reasonably available to the
generally are non-public. A Bureau            and the impact on consumers in rural areas. Section      Bureau in finalizing the Interim Final
investigator may disclose the existence       1022(b)(2)(B) addresses consultation between the         Rule. Moreover, as explained above,
                                              Bureau and other Federal agencies during the
of an investigation to the extent             rulemaking process. The manner and extent to             most of the costs associated with
necessary to advance the investigation.       which these provisions apply to procedural rules         complying with a CID result from the
  A commenter recommended that the            and benefits, costs and impacts that are compelled       Dodd-Frank Act, which authorizes the
Bureau revise this section to mandate         by statutory changes rather than discretionary
                                              Bureau action is unclear. Nevertheless, to inform
                                                                                                       Bureau to issue such demands.
that Bureau investigations remain             this rulemaking more fully, the Bureau performed           A commenter asserted that
confidential. The commenter noted the         the described analyses and consultations.                disfavoring extensions of petitions to
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modify or set aside CIDs will require the   information requiring approval under 44         perform the functions of the Director in
recipient to conduct a full review of the   U.S.C. 3501. et seq.                            accordance with the law.
demanded material within the normal                                                            Documentary material means the
                                            List of Subjects in 12 CFR Part 1080
20-day period in order to comply with                                                       original or any copy of any book,
the deadline for filing a petition. Under     Administrative practice and                   document, record, report,
the Final Rule, recipients of a CID are     procedure, Banking, Banks, Consumer             memorandum, paper, communication,
not required to comply fully within         protection, Credit, Credit unions,              tabulation, chart, log, electronic file, or
twenty days; rather, they are required      Investigations, Law enforcement,                other data or data compilation stored in
simply to decide whether they will          National banks, Savings associations,           any medium, including electronically
comply with the demand at all. The          Trade practices.                                stored information.
Assistant Director of the Office of           For the reasons set forth in the                 Dodd-Frank Act means the Dodd-
Enforcement and the Deputy Assistant        preamble, the Bureau of Consumer                Frank Wall Street Reform and Consumer
Directors of the Office of Enforcement      Financial Protection revises part 1080 to       Financial Protection Act of 2010, as
have the discretion to negotiate and        Chapter X in Title 12 of the Code of            amended, Public Law 111–203 (July 21,
approve the terms of satisfactory           Federal Regulations to read as follows:         2010), Title X, codified at 12 U.S.C.
compliance with CIDs and, for good                                                          5481 et seq.
cause shown, may extend the time            PART 1080—RULES RELATING TO                        Electronically stored information (ESI)
prescribed for compliance. Thus, the        INVESTIGATIONS                                  means any information stored in any
Final Rule provides reasonable steps to     Sec.                                            electronic medium from which
mitigate compliance burden while            1080.1 Scope.                                   information can be obtained either
simultaneously protecting the Bureau’s      1080.2 Definitions.                             directly or, if necessary, after translation
law enforcement interests.                  1080.3 Policy as to private controversies.      by the responding party into a
   Another commenter stated that the        1080.4 Initiating and conducting                reasonably usable form.
                                                 investigations.                               Office of Enforcement means the
four interim final rules that the Bureau    1080.5 Notification of purpose.
promulgated together on July 28, 2011                                                       office of the Bureau responsible for
                                            1080.6 Civil investigative demands.
failed to satisfy the rulemaking            1080.7 Investigational hearings.                enforcement of Federal consumer
requirements under section 1022 of the      1080.8 Withholding requested material.          financial law.
Dodd-Frank Act. Specifically, the           1080.9 Rights of witnesses in investigations.      Person means an individual,
commenter stated that ‘‘the CFPB’s          1080.10 Noncompliance with civil                partnership, company, corporation,
analysis of the costs and benefits of its        investigative demands.                     association (incorporated or
rules does not recognize the significant    1080.11 Disposition.                            unincorporated), trust, estate,
                                            1080.12 Orders requiring witnesses to           cooperative organization, or other
costs the CFPB imposes on covered                testify or provide other information and
persons.’’ The Bureau believes that it                                                      entity.
                                                 granting immunity.
appropriately considered the benefits,      1080.13 Custodians.
                                                                                               Violation means any act or omission
costs, and impacts of the Interim Final     1080.14 Confidential treatment of demand        that, if proved, would constitute a
Rule pursuant to section 1022. Notably,          material and non-public nature of          violation of any provision of Federal
the commenter did not identify any               investigations.                            consumer financial law.
specific costs to covered persons that        Authority: Pub. L. 111–203, Title X, 12       § 1080.3   Policy as to private controversies.
are not discussed in Part C of the          U.S.C. 5481 et seq.
SUPPLEMENTARY INFORMATION to the
                                                                                              The Bureau shall act only in the
Interim Final Rule.                         § 1080.1   Scope.                               public interest and will not initiate an
                                              The rules of this part apply to Bureau        investigation or take other enforcement
VIII. Procedural Requirements               investigations conducted pursuant to            action when the alleged violation is
                                            section 1052 of the Dodd-Frank Act, 12          merely a matter of private controversy
  As noted in publishing the Interim
                                            U.S.C. 5562.                                    and does not tend to affect adversely the
Final Rule, under the Administrative
                                                                                            public interest.
Procedure Act, 5 U.S.C. 553(b), notice      § 1080.2   Definitions.
and comment is not required for rules          For the purposes of this part, unless        § 1080.4 Initiating and conducting
of agency organization, procedure, or       explicitly stated to the contrary:              investigations.
practice. As discussed in the preamble         Bureau means the Bureau of                     The Assistant Director of the Office of
to the Interim Final Rule, the Bureau       Consumer Financial Protection.                  Enforcement and the Deputy Assistant
confirms its finding that this is a            Bureau investigation means any               Directors of the Office of Enforcement
procedural rule for which notice and        inquiry conducted by a Bureau                   have the nondelegable authority to
comment is not required. In addition,       investigator for the purpose of                 initiate investigations. Bureau
because the Final Rule relates solely to    ascertaining whether any person is or           investigations are conducted by Bureau
agency procedure and practice, it is not    has been engaged in any conduct that is         investigators designated and duly
subject to the 30-day delayed effective     a violation.                                    authorized under section 1052 of the
date for substantive rules under section       Bureau investigator means any                Dodd-Frank Act, 12 U.S.C. 5562, to
553(d) of the Administrative Procedure      attorney or investigator employed by the        conduct such investigations. Bureau
Act, 5 U.S.C. 551 et seq. Because no        Bureau who is charged with the duty of          investigators are authorized to exercise
notice of proposed rulemaking is            enforcing or carrying into effect any           and perform their duties in accordance
required, the requirements of the           Federal consumer financial law.                 with the laws of the United States and
Regulatory Flexibility Act, 5 U.S.C.           Custodian means the custodian or any         the regulations of the Bureau.
601(2) do not apply. Finally, the Bureau    deputy custodian designated by the
has determined that this Final Rule does    Bureau for the purpose of maintaining           § 1080.5   Notification of purpose.
not impose any new recordkeeping,           custody of information produced                   Any person compelled to furnish
reporting, or disclosure requirements on    pursuant to this part.                          documentary material, tangible things,
covered entities or members of the             Director means the Director of the           written reports or answers to questions,
public that would be collections of         Bureau or a person authorized to                oral testimony, or any combination of
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such material, answers, or testimony to     dates which will provide a reasonable        agents, or designate other persons who
the Bureau shall be advised of the          period of time within which the things       consent to testify on its behalf. Unless
nature of the conduct constituting the      so demanded may be assembled and             a single individual is designated by the
alleged violation that is under             submitted, and identify the custodian to     entity, the entity must designate the
investigation and the provisions of law     whom such things shall be submitted.         matters on which each designee will
applicable to such violation.                 (ii) Submissions of tangible things in     testify. The individuals designated must
                                            response to a civil investigative demand     testify about information known or
§ 1080.6   Civil investigative demands.     shall be made under a sworn certificate,     reasonably available to the entity and
  (a) In general. In accordance with        in such form as the demand designates,       their testimony shall be binding on the
section 1052(c) of the Act, the Director    by the person to whom the demand is          entity.
of the Bureau, the Assistant Director of    directed or, if not a natural person, by        (b) Manner and form of production of
the Office of Enforcement, and the          any person having knowledge of the           ESI. When a civil investigative demand
Deputy Assistant Directors of the Office    facts and circumstances relating to such     requires the production of ESI, it shall
of Enforcement, have the nondelegable       production, to the effect that all of the    be produced in accordance with the
authority to issue a civil investigative    tangible things required by the demand       instructions provided by the Bureau
demand in any Bureau investigation          and in the possession, custody, or           regarding the manner and form of
directing the person named therein to       control of the person to whom the            production. Absent any instructions as
produce documentary material for            demand is directed have been submitted       to the form for producing ESI, ESI must
inspection and copying or reproduction      to the custodian.                            be produced in the form in which it is
in the form or medium requested by the        (3) Written reports or answers to          ordinarily maintained or in a reasonably
Bureau; to submit tangible things; to       questions. (i) Civil investigative           usable form.
provide a written report or answers to      demands for written reports or answers          (c) Meet and confer. The recipient of
questions; to appear before a designated    to questions shall propound with             a civil investigative demand shall meet
representative at a designated time and     definiteness and certainty the reports to    and confer with a Bureau investigator
place to testify about documentary          be produced or the questions to be           within 10 calendar days after receipt of
material, tangible things, or other         answered, prescribe a date or dates at       the demand or before the deadline for
information; and to furnish any             which time written reports or answers        filing a petition to modify or set aside
combination of such material, things,       to questions shall be submitted, and         the demand, whichever is earlier, to
answers, or testimony.                      identify the custodian to whom such          discuss and attempt to resolve all issues
  (1) Documentary material. (i) Civil       reports or answers shall be submitted.       regarding compliance with the civil
investigative demands for the                 (ii) Each reporting requirement or         investigative demand. The Assistant
production of documentary material          question in a civil investigative demand     Director of the Office of Enforcement
shall describe each class of material to    shall be answered separately and fully       and the Deputy Assistant Directors of
be produced with such definiteness and      in writing under oath. Responses to a        the Office of Enforcement may authorize
certainty as to permit such material to     civil investigative demand for a written     the waiver of this requirement for
be fairly identified, prescribe a return    report or answers to questions shall be      routine third-party civil investigative
date or dates that will provide a           made under a sworn certificate, in such      demands or in other circumstances
reasonable period of time within which      form as the demand designates, by the        where he or she determines that a
the material so demanded may be             person to whom the demand is directed        meeting is unnecessary. The meeting
assembled and made available for            or, if not a natural person, by any person   may be in person or by telephone.
inspection and copying or reproduction,     responsible for answering each                  (1) Personnel. The recipient must
and identify the custodian to whom          reporting requirement or question, to        make available at the meeting personnel
such material shall be made available.      the effect that all of the information       with the knowledge necessary to resolve
Documentary material for which a civil      required by the demand and in the            any issues relevant to compliance with
investigative demand has been issued        possession, custody, control, or             the demand. Such personnel could
shall be made available as prescribed in    knowledge of the person to whom the          include individuals knowledgeable
the civil investigative demand.             demand is directed has been submitted        about the recipient’s information or
  (ii) Production of documentary            to the custodian.                            records management systems and/or the
material in response to a civil               (4) Oral testimony. (i) Civil              recipient’s organizational structure.
investigative demand shall be made          investigative demands for the giving of         (2) ESI. If the civil investigative
under a sworn certificate, in such form     oral testimony shall prescribe a date,       demand seeks ESI, the recipient shall
as the demand designates, by the person     time, and place at which oral testimony      ensure that a person familiar with its
to whom the demand is directed or, if       shall be commenced, and identify a           ESI systems and methods of retrieval
not a natural person, by any person         Bureau investigator who shall conduct        participates in the meeting.
having knowledge of the facts and           the investigation and the custodian to          (3) Petitions. The Bureau will not
circumstances relating to such              whom the transcript of such                  consider petitions to set aside or modify
production, to the effect that all of the   investigation shall be submitted. Oral       a civil investigative demand unless the
documentary material required by the        testimony in response to a civil             recipient has meaningfully engaged in
demand and in the possession, custody,      investigative demand shall be taken in       the meet and confer process described
or control of the person to whom the        accordance with the procedures for           in this subsection and will consider
demand is directed has been produced        investigational hearings prescribed by       only issues raised during the meet and
and made available to the custodian.        §§ 1080.7 and 1080.9 of this part.           confer process.
  (2) Tangible things. (i) Civil              (ii) Where a civil investigative              (d) Compliance. The Assistant
investigative demands for tangible          demand requires oral testimony from an       Director of the Office of Enforcement
things shall describe each class of         entity, the civil investigative demand       and the Deputy Assistant Directors of
tangible things to be produced with         shall describe with reasonable               the Office of Enforcement are authorized
such definiteness and certainty as to       particularity the matters for examination    to negotiate and approve the terms of
permit such things to be fairly             and the entity must designate one or         satisfactory compliance with civil
identified, prescribe a return date or      more officers, directors, or managing        investigative demands and, for good
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cause shown, may extend the time                (g) Public disclosure. All such            production of material shall assert a
prescribed for compliance.                    petitions and the Director’s orders in       claim of privilege not later than the date
  (e) Petition for order modifying or         response to those petitions are part of      set for the production of material. Such
setting aside demand—in general. Any          the public records of the Bureau unless      person shall, if so directed in the civil
petition for an order modifying or            the Bureau determines otherwise for          investigative demand or other request
setting aside a civil investigative           good cause shown. Any showing of             for production, submit, together with
demand shall be filed with the                good cause must be made no later than        such claim, a schedule of the items
Executive Secretary of the Bureau with        the time the petition is filed.              withheld which states, as to each such
a copy to the Assistant Director of the                                                    item, the type, specific subject matter,
Office of Enforcement within 20               § 1080.7   Investigational hearings.
                                                                                           and date of the item; the names,
calendar days after service of the civil         (a) Investigational hearings, as          addresses, positions, and organizations
investigative demand, or, if the return       distinguished from hearings in               of all authors and recipients of the item;
date is less than 20 calendar days after      adjudicative proceedings, may be             and the specific grounds for claiming
service, prior to the return date. Such       conducted pursuant to a civil                that the item is privileged. The person
petition shall set forth all factual and      investigative demand for the giving of       who submits the schedule and the
legal objections to the civil investigative   oral testimony in the course of any          attorney stating the grounds for a claim
demand, including all appropriate             Bureau investigation, including              that any item is privileged must sign it.
arguments, affidavits, and other              inquiries initiated for the purpose of          (b) A person withholding material
supporting documentation. The attorney        determining whether or not a                 solely for reasons described in this
who objects to a demand must sign any         respondent is complying with an order        subsection shall comply with the
objections.                                   of the Bureau.                               requirements of this subsection in lieu
  (1) Statement. Each petition shall be          (b) Investigational hearings shall be     of filing a petition for an order
accompanied by a signed statement             conducted by any Bureau investigator         modifying or setting aside a civil
representing that counsel for the             for the purpose of hearing the testimony     investigative demand pursuant to
petitioner has conferred with counsel         of witnesses and receiving documentary       section 1080.6(e).
for the Bureau pursuant to section            material, tangible things, or other             (c) Disclosure of privileged or
1080.6(c) in a good-faith effort to resolve   information relating to any subject          protected information or
by agreement the issues raised by the         under investigation. Such hearings shall     communications produced pursuant to a
petition and has been unable to reach         be under oath or affirmation and             civil investigative demand shall be
such an agreement. If some of the             stenographically reported, and a             handled as follows:
matters in controversy have been              transcript thereof shall be made a part         (1) The disclosure of privileged or
resolved by agreement, the statement          of the record of the investigation. The      protected information or
shall specify the matters so resolved and     Bureau investigator conducting the           communications shall not operate as a
the matters remaining unresolved. The         investigational hearing also may direct      waiver with respect to the Bureau if:
statement shall recite the date, time, and    that the testimony be recorded by audio,        (i) The disclosure was inadvertent;
place of each such meeting between            audiovisual, or other means, in which           (ii) The holder of the privilege or
counsel, and the names of all parties         case the recording shall be made a part      protection took reasonable steps to
participating in each such meeting.           of the record of the investigation as        prevent disclosure; and
  (2) Extensions of time. The Assistant       well.                                           (iii) The holder promptly took
Director of the Office of Enforcement            (c) In investigational hearings, the      reasonable steps to rectify the error,
and the Deputy Assistant Directors of         Bureau investigators shall exclude from      including notifying a Bureau
the Office of Enforcement are authorized      the hearing room all persons except the      investigator of the claim of privilege or
to rule upon requests for extensions of       person being examined, his or her            protection and the basis for it.
time within which to file such petitions.     counsel, the officer before whom the            (2) After being notified, the Bureau
Requests for extensions of time are           testimony is to be taken, any                investigator must promptly return,
disfavored.                                   investigator or representative of an         sequester, or destroy the specified
  (3) Bureau investigator response.           agency with which the Bureau is              information and any copies; must not
Bureau investigators may, without             engaged in a joint investigation, and any    use or disclose the information until the
serving the petitioner, provide the           individual transcribing or recording         claim is resolved; must take reasonable
Director with a statement setting forth       such testimony. At the discretion of the     steps to retrieve the information if he or
any factual and legal response to a           Bureau investigator, and with the            she disclosed it before being notified;
petition for an order modifying or            consent of the person being examined,        and, if appropriate, may sequester such
setting aside the demand.                     persons other than those listed in this      material until such time as a hearing
  (4) Disposition. The Director has the       paragraph may be present in the hearing      officer or court rules on the merits of the
authority to rule upon a petition for an      room. The Bureau investigator shall          claim of privilege or protection. The
order modifying or setting aside a civil      certify or direct the individual             producing party must preserve the
investigative demand. The order may be        transcribing the testimony to certify on     information until the claim is resolved.
served on the petitioner via email,           the transcript that the witness was duly        (3) The disclosure of privileged or
facsimile, or any other method                sworn and that the transcript is a true      protected information or
reasonably calculated to provide notice       record of the testimony given by the         communications shall waive the
of the order to the petitioner.               witness. A copy of the transcript shall      privilege or protection with respect to
  (f) Stay of compliance period. The          be forwarded promptly by the Bureau          the Bureau as to undisclosed
timely filing of a petition for an order      investigator to the custodian designated     information or communications only if:
modifying or setting aside a civil            in section 1080.13.                             (i) The waiver is intentional;
investigative demand shall stay the time                                                      (ii) The disclosed and undisclosed
permitted for compliance with the             § 1080.8   Withholding requested material.   information or communications concern
portion challenged. If the petition is          (a) Any person withholding material        the same subject matter; and
denied in whole or in part, the ruling        responsive to a civil investigative             (iii) They ought in fairness to be
will specify a new return date.               demand or any other request for              considered together.
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§ 1080.9 Rights of witnesses in              and the testimony shall be taken, except    and the General Counsel of the Bureau
investigations.                              for testimony requiring the witness to      are authorized to:
   (a) Any person compelled to submit        divulge information protected by the          (1) Institute, on behalf of the Bureau,
documentary material, tangible things,       claim of privilege or work product.         an enforcement proceeding in the
or written reports or answers to                (3) Counsel for a witness may not, for   district court of the United States for
questions to the Bureau, or to testify in    any purpose or to any extent not            any judicial district in which a person
an investigational hearing, shall be         allowed by paragraphs (b)(1) and (2) of     resides, is found, or transacts business,
entitled to retain a copy or, on payment     this section, interrupt the examination     in connection with the failure or refusal
of lawfully prescribed costs, request a      of the witness by making any objections     of such person to comply with, or to
copy of the materials, things, reports, or   or statements on the record. Petitions      obey, a civil investigative demand in
written answers submitted, or a              challenging the Bureau’s authority to       whole or in part if the return date or any
transcript of his or her testimony. The      conduct the investigation or the            extension thereof has passed; and
Bureau, however, may for good cause          sufficiency or legality of the civil          (2) Seek civil contempt or other
deny such a request and limit the            investigative demand shall be addressed     appropriate relief in cases where a court
witness to inspection of the official        to the Bureau in advance of the hearing     order enforcing a civil investigative
transcript of the testimony. Upon            in accordance with § 1080.6(e). Copies      demand has been violated.
completion of transcription of the           of such petitions may be filed as part of
testimony of the witness, the witness                                                    § 1080.11   Disposition.
                                             the record of the investigation with the
shall be offered an opportunity to read      Bureau investigator conducting the            (a) When the facts disclosed by an
the transcript of his or her testimony.      investigational hearing, but no             investigation indicate that an
Any changes by the witness shall be          arguments in support thereof will be        enforcement action is warranted, further
entered and identified upon the              allowed at the hearing.                     proceedings may be instituted in
transcript by the Bureau investigator                                                    Federal or State court or pursuant to the
                                                (4) Following completion of the
with a statement of the reasons given by                                                 Bureau’s administrative adjudicatory
                                             examination of a witness, counsel for
the witness for making such changes.                                                     process. Where appropriate, the Bureau
                                             the witness may, on the record, request
The transcript shall then be signed by                                                   also may refer investigations to
                                             that the Bureau investigator conducting
the witness and submitted to the Bureau                                                  appropriate Federal, State, or foreign
                                             the investigational hearing permit the
unless the witness cannot be found, is                                                   governmental agencies.
                                             witness to clarify any of his or her
ill, waives in writing his or her right to                                                 (b) When the facts disclosed by an
signature, or refuses to sign. If the        answers. The grant or denial of such
                                             request shall be within the sole            investigation indicate that an
signed transcript is not submitted to the                                                enforcement action is not necessary or
Bureau within 30 calendar days of the        discretion of the Bureau investigator
                                             conducting the hearing.                     would not be in the public interest, the
witness being afforded a reasonable                                                      investigational file will be closed. The
opportunity to review it, the Bureau            (5) The Bureau investigator
                                                                                         matter may be further investigated, at
investigator, or the individual              conducting the hearing shall take all
                                                                                         any time, if circumstances so warrant.
transcribing the testimony acting at the     necessary action to regulate the course
                                                                                           (c) The Assistant Director of the Office
Bureau investigator’s direction, shall       of the hearing to avoid delay and to
                                                                                         of Enforcement and the Deputy
sign the transcript and state on the         prevent or restrain disorderly, dilatory,
                                                                                         Assistant Directors of the Office of
record the fact of the waiver, illness,      obstructionist, or contumacious
                                                                                         Enforcement are authorized to close
absence of the witness, or the refusal to    conduct, or contemptuous language.
                                                                                         Bureau investigations.
sign, together with any reasons given for    Such Bureau investigator shall, for
the failure to sign.                         reasons stated on the record,               § 1080.12 Orders requiring witnesses to
   (b) Any witness compelled to appear       immediately report to the Bureau any        testify or provide other information and
in person at an investigational hearing      instances where an attorney has             granting immunity.
may be accompanied, represented, and         allegedly refused to comply with his or       The Director has the nondelegable
advised by counsel as follows:               her obligations under the rules in this     authority to request approval from the
   (1) Counsel for a witness may advise      part, or has allegedly engaged in           Attorney General of the United States
the witness, in confidence and upon the      disorderly, dilatory, obstructionist, or    for the issuance of an order requiring a
initiative of either counsel or the          contumacious conduct, or                    witness to testify or provide other
witness, with respect to any question        contemptuous language in the course of      information and granting immunity
asked of the witness where it is claimed     the hearing. The Bureau will thereupon      under 18 U.S.C. 6004.
that a witness is privileged to refuse to    take such further action, if any, as the
answer the question. Counsel may not         circumstances warrant, including            § 1080.13   Custodians.
otherwise consult with the witness           actions consistent with those described       (a) The Bureau shall designate a
while a question directed to the witness     in 12 CFR 1081.107(c) to suspend or         custodian and one or more deputy
is pending.                                  disbar the attorney from further practice   custodians for material to be delivered
   (2) Any objections made under the         before the Bureau or exclude the            pursuant to a civil investigative demand
rules in this part shall be made only for    attorney from further participation in      in an investigation. The custodian shall
the purpose of protecting a                  the particular investigation.               have the powers and duties prescribed
constitutional or other legal right or                                                   by 12 CFR 1070.3 and section 1052 of
privilege, including the privilege against   § 1080.10 Noncompliance with civil          the Act, 12 U.S.C. 5562. Deputy
self-incrimination. Neither the witness      investigative demands.                      custodians may perform all of the duties
nor counsel shall otherwise object or          (a) In cases of failure to comply in      assigned to custodians.
refuse to answer any question. Any           whole or in part with Bureau civil            (b) Material produced pursuant to a
objection during an investigational          investigative demands, appropriate          civil investigative demand, while in the
hearing shall be stated concisely on the     action may be initiated by the Bureau,      custody of the custodian, shall be for the
record in a nonargumentative and             including actions for enforcement.          official use of the Bureau in accordance
nonsuggestive manner. Following an             (b) The Director, the Assistant           with the Act; but such material shall
objection, the examination shall proceed     Director of the Office of Enforcement,      upon reasonable notice to the custodian
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be made available for examination by          I. Background                                 and requires substantive notice that is
the person who produced such material,          The Dodd-Frank Wall Street Reform           both straightforward and
or his or her duly authorized                 and Consumer Financial Protection Act         comprehensive. The Final Rule further
representative, during regular office         of 2010 (Dodd-Frank Act) was signed           makes clear that the Bureau can
hours established for the Bureau.             into law on July 21, 2010. Title X of the     intervene as a party in an action brought
                                              Dodd-Frank Act established the Bureau         by a State Official under Title X of the
§ 1080.14 Confidential treatment of                                                         Dodd-Frank Act or a regulation
demand material and non-public nature of      to regulate the offering and provision of
                                              consumer financial products or services       prescribed thereunder, provides for the
investigations.
                                              under the Federal consumer financial          confidential treatment of non-public
  (a) Documentary materials, written                                                        information contained in the notice if a
reports, answers to questions, tangible       laws. Section 1042 of the Dodd-Frank
                                                                                            State so requests, and provides that
things or transcripts of oral testimony       Act, 12 U.S.C. 5552, governs the
                                                                                            provision of notice shall not be deemed
the Bureau receives in any form or            enforcement powers of the States under
                                                                                            a waiver of any applicable privilege. In
format pursuant to a civil investigative      the Dodd-Frank Act. Under section
                                                                                            addition, the Final Rule specifies that
demand are subject to the requirements        1042(a), a State attorney general or
                                                                                            the notice provisions do not create any
and procedures relating to the                regulator (State Official) may bring an
                                                                                            procedural or substantive rights for
disclosure of records and information         action to enforce Title X of the Dodd-
                                                                                            parties in litigation against the United
set forth in part 1070 of this title.         Frank Act and regulations issued
                                                                                            States or against a State that brings an
  (b) Bureau investigations generally are     thereunder. Prior to initiating any such
                                                                                            action under Title X of the Dodd-Frank
non-public. Bureau investigators may          action, the State Official is required to     Act or a regulation prescribed
disclose the existence of an                  provide notice of the action to the           thereunder.
investigation to potential witnesses or       Bureau and the prudential regulator, if
third parties to the extent necessary to      any, pursuant to section 1042(b) of the       III. Legal Authority
advance the investigation.                    Dodd-Frank Act. Section 1042(b) further          Section 1042(c) of the Dodd-Frank Act
  Dated: June 4, 2012.                        authorizes the Bureau to intervene in         authorizes the Bureau to prescribe
                                              the State Official’s action as a party,       regulations implementing the
Richard Cordray,
                                              remove the action to a Federal district       requirements of section 1042(b). In
Director, Bureau of Consumer Financial
                                              court, and appeal any order or                addition, the Bureau has general
Protection.
                                              judgment.                                     rulemaking authority pursuant to
[FR Doc. 2012–14047 Filed 6–28–12; 8:45 am]
                                                Pursuant to section 1042(c) of the          section 1022(b)(1) of the Dodd-Frank
BILLING CODE 4810–AM–P                        Dodd-Frank Act, the Bureau is required        Act to prescribe rules to enable the
                                              to issue regulations implementing the         Bureau to administer and carry out the
                                              requirements of section 1042. On July         purposes and objectives of the Federal
BUREAU OF CONSUMER FINANCIAL
                                              28, 2011, the Bureau promulgated the          consumer financial laws and to prevent
PROTECTION
                                              State Official Notification Rule (Interim     evasions thereof.
12 CFR Part 1082                              Final Rule) with a request for comment.
                                              The comment period for the Interim            IV. Overview of Comments Received
[Docket No. CFPB–2011–0005]                   Final Rule ended on September 26,                In response to the Interim Final Rule,
RIN 3170–AA02                                 2011. After reviewing and considering         the Bureau received several comments.
                                              the issues raised by the comments, the        Four letters were received from
State Official Notification Rule              Bureau now promulgates the Final Rule         associations representing the financial
                                              establishing a procedure for the timing       industry, two letters were received from
AGENCY:  Bureau of Consumer Financial                                                       financial industry regulators and
                                              and content of the notice required to be
Protection.                                                                                 supervisors, and one letter was received
                                              provided by State Officials pursuant to
ACTION: Final rule.                           section 1042(b) of the Dodd-Frank Act,        from an individual consumer. The
SUMMARY:    The Dodd-Frank Wall Street        12 U.S.C. 5552(b).                            Bureau also received a comment letter
Reform and Consumer Financial                                                               from a financial industry regulator in
                                              II. Summary of the Final Rule                 response to its Federal Register
Protection Act of 2010 (Dodd-Frank Act)
requires the Bureau of Consumer                 Like the Interim Final Rule, the Final      notification of November 21, 2011,
Financial Protection (Bureau) to              Rule implements a procedure for the           regarding the information collection
prescribe rules establishing procedures       timing and content of the notice              requirements associated with the
that govern the process by which State        required by section 1042(b), sets forth       Interim Final Rule pursuant to the
Officials notify the Bureau of actions        the responsibilities of the recipients of     Paperwork Reduction Act of 1995
undertaken pursuant to the authority          the notice, and specifies the rights of the   (PRA), Public Law 104–13. All of the
granted to the States to enforce the          Bureau to participate in actions brought      comments are available for review on
Dodd-Frank Act or regulations                 by State Officials under section 1042(a)      www.regulations.gov.
prescribed thereunder. This final State       of the Dodd-Frank Act. In drafting the           The financial industry associations’
Official Notification Rule (Final Rule)       Final Rule, the Bureau endeavored to          comments fell into several general
sets forth the procedures to govern this      create a process that would provide both      categories. Several comments expressed
process.                                      the Bureau and, where applicable, the         concerns about the Bureau’s ability to
                                              prudential regulators with timely notice      maintain confidentiality for notification
DATES: The Final Rule is effective June
                                              of pending actions and account for the        materials received by the Bureau. Other
29, 2012.                                     investigation and litigation needs of         commenters requested clarity as to the
FOR FURTHER INFORMATION CONTACT:              State regulators and law enforcement          type of actions for which the Bureau
Veronica Spicer, Office of Enforcement,       agencies. In keeping with this approach,      requires notification. One commenter
Consumer Financial Protection Bureau,         the Final Rule provides for a default         requested that the Bureau require
1700 G Street NW., Washington, DC             notice period of at least ten calendar        uniform interpretation by States of all
20552, at (202) 435–7545.                     days, with exceptions for emergencies         Federal law within the Bureau’s
SUPPLEMENTARY INFORMATION:                    and other extenuating circumstances,          jurisdiction.
